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         Exhibit G
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                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: NATIONAL FOOTBALL LEAGUE                         No. 2:12-md-02323-AB
 PLAYERS’ CONCUSSION
 INJURY LITIGATION                                       MDL No. 2323

 Kevin Turner and Shawn Wooden,
 on behalf of themselves and
 others similarly situated,

                                Plaintiffs,              CIVIL ACTION NO: 14-cv-0029

              v.

 National Football League and
 NFL Properties, LLC,
 successor-in-interest to
 NFL Properties, Inc.,

                                Defendants.


RESPONSES TO CLASS COUNSEL INTERROGATORY REQUESTS PROPOUNDED
              TO MCCALL | ATTEN, INTERNATIONAL, P.A.

       Pursuant to the Court’s Order dated July 19th, 2017 (ECF No. 8037), MCCALL |

ATTEN, INTERNATIONAL., P.A. hereby responds to Co-Lead Counsel’s Request for

Interrogatories, dated July 28th, 2017 as follows:


Interrogatory No. 1

Identify every Retired NFL Football Player with whom You have entered into any agreement
related in any way to the Settlement and state the nature of each agreement into which You entered
with each Retired NFL Football Player. Include the date that each agreement was signed by the
Retired NFL Football Player or on his behalf, the fee arrangement (i.e., the contingent fee
percentage or other monies You are to be paid) and, if applicable, the date on which the Retried
Football Player discharged You. Additionally, to the extent that any Retired NFL Football Player
entering into an agreement with You, also entered into an agreement(s) with a third party in
connection with the Settlement, whether You were directly involved in that agreement or not,
identify that third party (including, but not limited to, Case Strategies Group (formerly known as
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NFL Case Consulting, LLC)(“CSG”), other claims services providers, lenders or others), the
nature of that agreement, the fee arrangement thereunder and the date on which that agreement
was signed by the Retired NFL Football Player or on his behalf. In lieu of responding to this
Interrogatory, you may produce to the undersigned copies of all agreements concerning which
information is requested.



ANSWER: Objection, over-broad, attorney client privilege. To the extent the named Retired
Players entered into agreements with Case Strategies Group or any other entity, McCall Atten is
unaware of the nature of any agreements and were not a party to those agreements. McCall Atten
objects to the extent this interrogatory seeks confidential information of its clients. Subject to and
without waiving the objection, attached are redacted copies of the retainer agreements executed by
all clients that are the subject of this interrogatory.



Interrogatory No. 2

Identify every Retired NFL Football Player referred for, sent to, or scheduled for any type of
Medical Services, by You, anyone working on Your behalf, or working in conjunction with You
in any way, and the date(s) the Medical Services were rendered and the name and location of the
medical provider who rendered these Medical Services.



ANSWER:        None.



Interrogatory No. 3

Identify every Retired NFL Football Player for who You, or anyone working on Your behalf, or
working in conjunction with You in any way, have been involved in the payment, directly or
through others, for a Retired NFL Football Player’s travel and related expenses (whether on a non-
recourse or recourse basis) in connection with obtaining any Medical Services to assist the Retired
NFL Football Player in any way in participating in the Settlement.



ANSWER:        None.



Interrogatory No. 4
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Identify every individual and entity with whom You, anyone working on Your behalf, or working
in conjunction with You in any way, have worked or Communicated in connection with any
Retired NFL Football Player’s obtaining any Medical Services to assist the Retired NFL Football
Player in any way participating in the Settlement, including, but not limited to, medical providers,
claims services providers, lenders or others. For each such individual and/or entity, explain the
details of the relationship and identify each Retired NFL Football Player involved.



ANSWER: Objection, work-product, attorney-client privilege. This interrogatory seeks to
obtain the mental impressions of counsel and privileged communications with persons counsel
may have consulted with for the benefit of his client’s claim. Subject to and without waiving said
objection, none.



Interrogatory No. 5

Identify every individual and entity, including, but not limited to CSG, with whom You, anyone
working on Your behalf, or working in conjunction with You in any way, have any financial
relationship or understanding, whether recourse or non-recourse, whether in writing or verbal,
related to any Retired NFL Football Player’s participation in the Settlement. For each such
individual and entity, explain the details of the relationship and identify each Retired NFL Football
Player involved. Identify any document related to the relationship.



ANSWER: Objection, attorney-client privilege.             This Interrogatory seeks privileged
communications between attorney and client, to the extent they exist. McCall Atten has no
knowledge of contracts with CSG or any other entity, relating to the terms of any contract, retainer
or nature of any relationship. The circumstances surrounding any contractual relationship with
CSG or any other entity are solely between the Retired NFL Football Player and the other party to
which McCall Atten has no knowledge of.



Interrogatory No. 6

Identify every individual and entity from whom You have obtained the contact information for
any Retired NFL Football Player, including their home or cellular telephone numbers, home or
business address, and email addresses.



ANSWER:        CSG provided Retired NFL Football Players’ telephone numbers
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Interrogatory 7

Identify every individual and entity to whom You have provided any contact information for any
Retired NFL Football Player.



ANSWER:        None.



Interrogatory No. 8

Identify every person or entity with whom You have entered into any agreement, whether written
or verbal, related to the Settlement, including but not limited to the referral of Retired NFL Football
Players for legal representation, Settlement benefits claims services, Medical Services, or any other
services or provisions of monies, related to the Settlement, or the suggestion to Retired NFL
Football Players that they contact individuals or entities in connection with the provision of any
representation, services or monies related to the Settlement, and state the nature of each agreement.



ANSWER:        Objection, attorney-client privilege. Subject to and without waiving said objection,
none.



Interrogatory No. 9

Identify every individual and entity with whom You, anyone working on Your behalf, or working
in conjunction with You in any way, Communicated related to the Solicitation of Retired NFL
Football Players.



ANSWER:        None.


                                                       /s/Joey M. McCall, Esq.
                                                       Joey M. McCall, Esq.
                                                       McCall | Atten, International, P.A.
                                                       One Alhambra Plaza, PH Floor
                                                       Coral Gables, FL 33134
                                                       Office: 786-749-2218
                                                       Facsimile: 786-749-2201
                                                       Joey@McCallAtten.com
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Dear Client:

Thank you for selecting McCall|Atten (the “Firm”) to provide legal services to you (“Client”) to
recover any and all monetary damages through the pursuit of your claim in the NFL Concussion
Claims Settlement Facility.

The purpose of this letter is to set forth the terms upon which we understand you intend for us to
proceed. Although this letter is somewhat lengthy, it is better for both attorney and client to address
matters up front in order to minimize the likelihood of subsequent misunderstandings or
disagreement.

1.     Scope of Services

Client has engaged the Firm to represent it in connection with providing legal services reasonably
related to the recovery of economic and non-economic damages resulting from the NFL Players’
Concussion Injury Litigation (“NFL PCIL”), MDL 2323.

This engagement letter does not engage us to undertake any matter not described above. For
example, this engagement letter does not include: representing Client in any formal legal actions
commenced by the filing of a separate complaint, any appeals related to litigation against Client, any
workman’s compensation claims, unemployment claims, or any other representation of any
affiliates, subsidiaries, or agents of Client.

Any non-legal related services the Client may require or request in connection with the claims
process, such as medical costs, Independent Medical Examinations or Opinions, advances for health
or palliative care or any other non-legal cost or service shall not be within the Firm’s Scope of
Services and shall not be provided for or paid in advance by the Firm.

2.     Conflicts of Interest (

As we have discussed, there are currently no conflicts of interest that are raised by your request
that we undertake this matter. However, should any conflicts of interest become known to us
throughout the course of our providing legal representation, said conflicts will be addressed in
another letter. Please note that in the event of any conflicts of interest that may arise, we may not
be able to continue with this representation if we do not receive signed waivers back from all parties
whose consent is required.
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3.      Firm Personnel

Joey M. McCall, Esq (“Managing Partner”) will be primarily responsible for the supervision of
Client’s matter, but Client is engaging the Firm as a, whole and not Managing Partner individually.
As and when necessary, Managing Partner will draw upon the skill and expertise of other partners
and associates within the Firm and utilize paralegal and/or administrative staff to handle
administrative tasks. If necessary to retain counsel in a jurisdiction in which the Firm does not
practice, Firm will retain counsel in the necessary jurisdiction.

4.      Legal Fees (           )

 The Firm will represent Client on a Contingency Fee basis with no retainer or other money due
 in advance from the Client. I n c o n s i d e r a t i o n f o r t h e F i r m ’ s s e r v i c e s , the
 Firm shall and is entitled to receive and/or recover a 10% fee of any and all funds
 recovered from the NFL PCIL, MDL 2323 Settlement for Client. The Firm’s fee will be deemed
 earned upon the initiation of its pursuit for recovery on behalf of the Client from the NFL PCIL,
 MDL 2323. A s u b se q ue n t f e e a g r e e m e n t w i l l b e n e c e s sa r y f o r r e c o v e r y o u t s i d e o f
 s e t t le m e n t a n d w i ll b e t a k e n o n a ca se b y c a se b a si s w i t h b o t h t he F i r m ’ s a n d
 C l i e n t ’s e x p re s s w ri t t e n c o n s e n t .

 Under the NFL PCIL, MDL 2323 Settlement, Co-Lead Class Counsel may request payment of up to
 five percent (5%) of the benefits due t o you (the “Set Aside”). If such a request is made, the
 Court must first approve the Co-Lead Class Counsel’s request before payment of any percentage
 of the benefits to which you may be entitled. The Firm, at its sole discretion, may oppose such
 request for a Set Aside. If, however, the Court authorizes a Set Aside, Client specifically and
 expressly agree in advance the total amount of the Firm’s contingency fee shall increase by the
 same amount of any future Court Authorized Set Aside so that the Contingent Fee due to the Firm
 does not fall below the fee arrangement described above and in this section.

5.      Costs and Disbursements (

Client is responsible for payment of all costs, expenses, and disbursements reasonably incurred by
the Firm on the Client’s behalf. Client expressly acknowledges Firm is not obligated to advance such
costs, expenses, and disbursements. Such costs, expenses, and disbursements may include, but are
not limited to; photocopy and facsimile charges, long distances telephone calls, travel expenses, and
computer research charges. The Firm may, at its sole discretion, advance litigation expenses related
to the costs of obtaining medical examinations and reports for use in the Concussion Settlement
Claims process, including reasonable travel and stay accommodations. All costs, including those
related to medical examination and travel shall be deducted from the client’s recovery after
application of the fee recoverable to the Firm.

6.      Trust Account

In the event that our Firm recovers compensation, all payments will be paid to our Firm’s trust
account first, where they will be then distributed to the Client with a detailed accounting minus the
agreed upon attorney’s fees and costs, expenses, and disbursements. Funds will be held in our
Firm’s IOTA trust account and the interest, if any, will be sent to the appropriate and applicable bar
foundation.




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7.     No Guarantees of Fees, Costs, or Results

It is difficult to estimate, in advance, the amount of fees and costs, expenses, or disbursements that
we will incur in connection with this matter. Please note that statement or estimate about this
subject that we have given you is just that – an estimate – and not a commitment to a flat or fixed
fee.

Similarly, and although we will give you our reasoned judgment and advice at all times, we cannot
guarantee any particular outcome of any engagement and thus cannot guarantee that the ultimate
outcome will be consistent with the client’s wishes.

8.     Term; Termination and/or Withdrawal

This agreement is contemplated as continuing for the duration that may be necessary to pursue
claims, in relation to the scope of services described in Section 1, which shall commence on the date
that this agreement is executed by both parties (“Effective Date”). Thereafter, Client may terminate
the attorney-client relationship at any time and for any reason by providing notice to the Firm.
Such a termination does not, however, absolve Client of the responsibility to pay for services or
costs, expenses, and disbursements incurred prior to our receipt of notice of termination or
incurred subsequent to notice but, in or view, are reasonably necessary to protect Client’s interests.
In the event the client chooses to terminate the representation prior to any receipt of NFL PCIL,
MDL 2323 Settlement funds, the Client shall immediately reimburse the Firm for all costs, expenses
and disbursements incurred on behalf of the client including, but not limited to, the costs, expenses
or disbursements related to medical examinations and travel to such examinations, plus the fee for
the work done on the client’s file at the firm’s' standard h o u r l y rate. The current rates are:
Attorneys $400 per hour; paralegals and staff $250 per hour. Hourly rates are not charged on
contingency fee cases unless the case is terminated before all work is completed. Upon early
termination by the Client, Client specifically authorizes and acknowledges the Firm shall be entitled
to place a charging lien on any funds to which the Client would be otherwise entitled under the
NFL PCIL, MDL 2323 Settlement.

To the extent permitted by the applicable rules of professional conduct, we also reserve the right to
terminate the attorney-client relationship at any time. Similarly, and again to the extent permitted
by the applicable rules of professional conduct, Client will remain liable for services or costs,
expenses, and disbursements incurred prior to our decision to withdraw or incurred subsequent to
our decision but, in our view, reasonable necessary to protect Client’s interests.

The Firm does not ordinarily undertake to keep clients informed about subsequent developments
once the matter in question is at an end. If you would like the Firm to do so, please provide
notification in writing so that an arrangement can be made.

9.     Arbitration and Fee Disputes

Any and all fee disputes that the parties are unable to resolve between themselves shall
unequivocally be arbitrated in accordance with applicable state or country bar fee arbitration
procedures or, if no such procedures exist, in accordance with the commercial arbitration rules of
the American Arbitration Association, and any award issued in such arbitration shall be enforceable
in any court with jurisdiction. To the extent permitted by applicable law, the arbitration




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proceedings shall be strictly confidential. Unless otherwise agreed by the parties in writing, venue
for any arbitration proceedings shall occur in Miami, Florida.

10.    Special Arrangements and Third-Party Contracts (

You, the Client, may have entered into a special arrangement or contracted a third-party with
respect to a contractual debt or repayment arrangement with other individuals or entities who
are to be reimbursed out of any benefits payable to you as a result of the Firm’s efforts on your
behalf and under the NFL PCIL, MDL 2323 Settlement. Such individuals’ or entities’ claims shall and
will be the sole responsibility of the Client. Client expressly acknowledges the Firm is not now nor
will the Firm agree to be in the future a party to any special arrangements or contract with a third-
party with respect to any contractual debt or repayment arrangement with any third party
individual or entity. Any individual or entity with such a right to reimbursement shall have
absolutely no control in any fashion over the Firm’s handling of the legal aspects of the Client’s
case. The Firm shall not share any part of its Contingent Fee with any such individuals or entities.

11.    Severability

In case any provision in this Agreement shall be invalid, illegal, or unenforceable, then (to the extent
permitted by law) the validity, legality, or enforceability of the remaining provisions shall not in any
way be affected or impaired thereby.

12.    Binding and Entire Agreement

This letter represents the entire agreement between the parties, and no party is relying or entitled
to rely on any representation not expressly contained herein. In addition, no changes to this letter
may be made without the express written consent of all the parties hereto.

If this letter reflects your understanding of our relationship, please sign and return the enclosed
duplicate copy. Please note that unless and until we hear from you to the contrary, we will assume
that we are entitled to proceed under the terms of this letter. Consistent with firm policy, however,
we reserve the right to delay commencement of work on this matter until you have signed and
returned the engagement letter to us.

13.    Acknowledgement of Prior Provisions

Now that you have read through this document in its entirety, please go back to the beginning of the
document and initial next to each provision where space within parenthesis is provided for you to
do so. By initialing on each space allotted, you are confirming that you have ready the provision,
understand the provision in its entirety, and have no additional questions regarding the information
provided in the provision.




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Again, we thank you for your trust in us and look forward to a mutually satisfactory and productive
relationship.

Respectfully,

____________________
Joey M. McCall, Esq.
Managing Partner
McCall | Atten

        By signing this contract, the individual is stating that they are the authorized representative
to make agreements, contracts, and claims for the injured party. The authorized representative
acts as an agent for the injured party to contract for legal services from the Firm.

Accepted and Agreed to by:

Client Signature:__            ________________________________________________________
Client Name:_             ___________________________________________________________
Date:_            _________________________________________________________________
Client Phone Number(s):__                 ________________________________________________
Client Email Address(s):_                      ___________________________________________




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Dear Client:

Thank you for selecting McCall|Atten (the “Firm”) to provide legal services to you (“Client”) to
recover any and all monetary damages through the pursuit of your claim in the NFL Concussion
Claims Settlement Facility.

The purpose of this letter is to set forth the terms upon which we understand you intend for us to
proceed. Although this letter is somewhat lengthy, it is better for both attorney and client to address
matters up front in order to minimize the likelihood of subsequent misunderstandings or
disagreement.

1.     Scope of Services

Client has engaged the Firm to represent it in connection with providing legal services reasonably
related to the recovery of economic and non-economic damages resulting from the NFL Players’
Concussion Injury Litigation (“NFL PCIL”), MDL 2323.

This engagement letter does not engage us to undertake any matter not described above. For
example, this engagement letter does not include: representing Client in any formal legal actions
commenced by the filing of a separate complaint, any appeals related to litigation against Client, any
workman’s compensation claims, unemployment claims, or any other representation of any
affiliates, subsidiaries, or agents of Client.

Any non-legal related services the Client may require or request in connection with the claims
process, such as medical costs, Independent Medical Examinations or Opinions, advances for health
or palliative care or any other non-legal cost or service shall not be within the Firm’s Scope of
Services and shall not be provided for or paid in advance by the Firm.

2.     Conflicts of             ____)

As we have discussed, there are currently no conflicts of interest that are raised by your request
that we undertake this matter. However, should any conflicts of interest become known to us
throughout the course of our providing legal representation, said conflicts will be addressed in
another letter. Please note that in the event of any conflicts of interest that may arise, we may not
be able to continue with this representation if we do not receive signed waivers back from all parties
whose consent is required.
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3.      Firm Personne

Joey M. McCall, Esq (“Managing Partner”) will be primarily responsible for the supervision of
Client’s matter, but Client is engaging the Firm as a, whole and not Managing Partner individually.
As and when necessary, Managing Partner will draw upon the skill and expertise of other partners
and associates within the Firm and utilize paralegal and/or administrative staff to handle
administrative tasks. If necessary to retain counsel in a jurisdiction in which the Firm does not
practice, Firm will retain counsel in the necessary jurisdiction.

4.      Legal Fee

 The Firm will represent Client on a Contingency Fee basis with no retainer or other money due
 in advance from the Client. I n c o n s i d e r a t i o n f o r t h e F i r m ’ s s e r v i c e s , the
 Firm shall and is entitled to receive and/or recover a 20% fee of any and all funds
 recovered from the NFL PCIL, MDL 2323 Settlement for Client. The Firm’s fee will be deemed
 earned upon the initiation of its pursuit for recovery on behalf of the Client from the NFL PCIL,
 MDL 2323. A s u b se q ue n t f e e a g r e e m e n t w i l l b e n e c e s sa r y f o r r e c o v e r y o u t s i d e o f
 s e t t le m e n t a n d w i ll b e t a k e n o n a ca se b y c a se b a si s w i t h b o t h t he F i r m ’ s a n d
 C l i e n t ’s e x p re s s w ri t t e n c o n s e n t .

 Under the NFL PCIL, MDL 2323 Settlement, Co-Lead Class Counsel may request payment of up to
 five percent (5%) of the benefits due t o you (the “Set Aside”). If such a request is made, the
 Court must first approve the Co-Lead Class Counsel’s request before payment of any percentage
 of the benefits to which you may be entitled. The Firm, at its sole discretion, may oppose such
 request for a Set Aside. If, however, the Court authorizes a Set Aside, Client specifically and
 expressly agree in advance the total amount of the Firm’s contingency fee shall increase by the
 same amount of any future Court Authorized Set Aside so that the Contingent Fee due to the Firm
 does not fall below the fee arrangement described above and in this section.

5.      Costs and DisbursementsB

Client is responsible for payment of all costs, expenses, and disbursements reasonably incurred by
the Firm on the Client’s behalf. Client expressly acknowledges Firm is not obligated to advance such
costs, expenses, and disbursements. Such costs, expenses, and disbursements may include, but are
not limited to; photocopy and facsimile charges, long distances telephone calls, travel expenses, and
computer research charges. The Firm may, at its sole discretion, advance litigation expenses related
to the costs of obtaining medical examinations and reports for use in the Concussion Settlement
Claims process, including reasonable travel and stay accommodations. All costs, including those
related to medical examination and travel shall be deducted from the client’s recovery after
application of the fee recoverable to the Firm.

6.      Trust Account

In the event that our Firm recovers compensation, all payments will be paid to our Firm’s trust
account first, where they will be then distributed to the Client with a detailed accounting minus the
agreed upon attorney’s fees and costs, expenses, and disbursements. Funds will be held in our
Firm’s IOTA trust account and the interest, if any, will be sent to the appropriate and applicable bar
foundation.




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7.     No Guarantees of Fees, Costs, or Result

It is difficult to estimate, in advance, the amount of fees and costs, expenses, or disbursements that
we will incur in connection with this matter. Please note that statement or estimate about this
subject that we have given you is just that – an estimate – and not a commitment to a flat or fixed
fee.

Similarly, and although we will give you our reasoned judgment and advice at all times, we cannot
guarantee any particular outcome of any engagement and thus cannot guarantee that the ultimate
outcome will be consistent with the client’s wishes.

8.     Term; Termination and/or WithdrawalB

This agreement is contemplated as continuing for the duration that may be necessary to pursue
claims, in relation to the scope of services described in Section 1, which shall commence on the date
that this agreement is executed by both parties (“Effective Date”). Thereafter, Client may terminate
the attorney-client relationship at any time and for any reason by providing notice to the Firm.
Such a termination does not, however, absolve Client of the responsibility to pay for services or
costs, expenses, and disbursements incurred prior to our receipt of notice of termination or
incurred subsequent to notice but, in or view, are reasonably necessary to protect Client’s interests.
In the event the client chooses to terminate the representation prior to any receipt of NFL PCIL,
MDL 2323 Settlement funds, the Client shall immediately reimburse the Firm for all costs, expenses
and disbursements incurred on behalf of the client including, but not limited to, the costs, expenses
or disbursements related to medical examinations and travel to such examinations, plus the fee for
the work done on the client’s file at the firm’s' standard h o u r l y rate. The current rates are:
Attorneys $400 per hour; paralegals and staff $250 per hour. Hourly rates are not charged on
contingency fee cases unless the case is terminated before all work is completed. Upon early
termination by the Client, Client specifically authorizes and acknowledges the Firm shall be entitled
to place a charging lien on any funds to which the Client would be otherwise entitled under the
NFL PCIL, MDL 2323 Settlement.

To the extent permitted by the applicable rules of professional conduct, we also reserve the right to
terminate the attorney-client relationship at any time. Similarly, and again to the extent permitted
by the applicable rules of professional conduct, Client will remain liable for services or costs,
expenses, and disbursements incurred prior to our decision to withdraw or incurred subsequent to
our decision but, in our view, reasonable necessary to protect Client’s interests.

The Firm does not ordinarily undertake to keep clients informed about subsequent developments
once the matter in question is at an end. If you would like the Firm to do so, please provide
notification in writing so that an arrangement can be made.

9.     Arbitration and Fee DisputesB

Any and all fee disputes that the parties are unable to resolve between themselves shall
unequivocally be arbitrated in accordance with applicable state or country bar fee arbitration
procedures or, if no such procedures exist, in accordance with the commercial arbitration rules of
the American Arbitration Association, and any award issued in such arbitration shall be enforceable
in any court with jurisdiction. To the extent permitted by applicable law, the arbitration




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proceedings shall be strictly confidential. Unless otherwise agreed by the parties in writing, venue
for any arbitration proceedings shall occur in Miami, Florida.

10.    Special Arrangements and Third-Party ContractsB

You, the Client, may have entered into a special arrangement or contracted a third-party with
respect to a contractual debt or repayment arrangement with other individuals or entities who
are to be reimbursed out of any benefits payable to you as a result of the Firm’s efforts on your
behalf and under the NFL PCIL, MDL 2323 Settlement. Such individuals’ or entities’ claims shall and
will be the sole responsibility of the Client. Client expressly acknowledges the Firm is not now nor
will the Firm agree to be in the future a party to any special arrangements or contract with a third-
party with respect to any contractual debt or repayment arrangement with any third party
individual or entity. Any individual or entity with such a right to reimbursement shall have
absolutely no control in any fashion over the Firm’s handling of the legal aspects of the Client’s
case. The Firm shall not share any part of its Contingent Fee with any such individuals or entities.

11.    SeverabilityB

In case any provision in this Agreement shall be invalid, illegal, or unenforceable, then (to the extent
permitted by law) the validity, legality, or enforceability of the remaining provisions shall not in any
way be affected or impaired thereby.

12.    Binding and Entire AgreementB

This letter represents the entire agreement between the parties, and no party is relying or entitled
to rely on any representation not expressly contained herein. In addition, no changes to this letter
may be made without the express written consent of all the parties hereto.

If this letter reflects your understanding of our relationship, please sign and return the enclosed
duplicate copy. Please note that unless and until we hear from you to the contrary, we will assume
that we are entitled to proceed under the terms of this letter. Consistent with firm policy, however,
we reserve the right to delay commencement of work on this matter until you have signed and
returned the engagement letter to us.

13.    Acknowledgement of Prior ProvisionB

Now that you have read through this document in its entirety, please go back to the beginning of the
document and initial next to each provision where space within parenthesis is provided for you to
do so. By initialing on each space allotted, you are confirming that you have ready the provision,
understand the provision in its entirety, and have no additional questions regarding the information
provided in the provision.




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Again, we thank you for your trust in us and look forward to a mutually satisfactory and productive
relationship.

Respectfully,

____________________
Joey M. McCall, Esq.
Managing Partner
McCall | Atten

        By signing this contract, the individual is stating that they are the authorized representative
to make agreements, contracts, and claims for the injured party. The authorized representative
acts as an agent for the injured party to contract for legal services from the Firm.

Accepted and Agreed to b

Client Signature:_________                _______________________________________________
Client Name:                   ________________________________________________________
Date:_                 ______________________________________________________________
Client Phone Number(s):                       ______________________________________________
Client Email Address(




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Dear Client:

Thank you for selecting McCall|Atten (the “Firm”) to provide legal services to you (“Client”) to
recover any and all monetary damages through the pursuit of your claim in the NFL Concussion
Claims Settlement Facility.

The purpose of this letter is to set forth the terms upon which we understand you intend for us to
proceed. Although this letter is somewhat lengthy, it is better for both attorney and client to address
matters up front in order to minimize the likelihood of subsequent misunderstandings or
disagreement.

1.     Scope of Services (       __)

Client has engaged the Firm to represent it in connection with providing legal services reasonably
related to the recovery of economic and non-economic damages resulting from the NFL Players’
Concussion Injury Litigation (“NFL PCIL”), MDL 2323.

This engagement letter does not engage us to undertake any matter not described above. For
example, this engagement letter does not include: representing Client in any formal legal actions
commenced by the filing of a separate complaint, any appeals related to litigation against Client, any
workman’s compensation claims, unemployment claims, or any other representation of any
affiliates, subsidiaries, or agents of Client.

Any non-legal related services the Client may require or request in connection with the claims
process, such as medical costs, Independent Medical Examinations or Opinions, advances for health
or palliative care or any other non-legal cost or service shall not be within the Firm’s Scope of
Services and shall not be provided for or paid in advance by the Firm.

2.     Conflicts of Interest (    ___)

As we have discussed, there are currently no conflicts of interest that are raised by your request
that we undertake this matter. However, should any conflicts of interest become known to us
throughout the course of our providing legal representation, said conflicts will be addressed in
another letter. Please note that in the event of any conflicts of interest that may arise, we may not
be able to continue with this representation if we do not receive signed waivers back from all parties
whose consent is required.
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3.      Firm Personnel (          ___)

Joey M. McCall, Esq (“Managing Partner”) will be primarily responsible for the supervision of
Client’s matter, but Client is engaging the Firm as a, whole and not Managing Partner individually.
As and when necessary, Managing Partner will draw upon the skill and expertise of other partners
and associates within the Firm and utilize paralegal and/or administrative staff to handle
administrative tasks. If necessary to retain counsel in a jurisdiction in which the Firm does not
practice, Firm will retain counsel in the necessary jurisdiction.

4.      Legal Fees (       ___)

 The Firm will represent Client on a Contingency Fee basis with no retainer or other money due
 in advance from the Client. I n c o n s i d e r a t i o n f o r t h e F i r m ’ s s e r v i c e s , the
 Firm shall and is entitled to receive and/or recover a 10% fee of any and all funds
 recovered from the NFL PCIL, MDL 2323 Settlement for Client. The Firm’s fee will be deemed
 earned upon the initiation of its pursuit for recovery on behalf of the Client from the NFL PCIL,
 MDL 2323. A s u b se q ue n t f e e a g r e e m e n t w i l l b e n e c e s sa r y f o r r e c o v e r y o u t s i d e o f
 s e t t le m e n t a n d w i ll b e t a k e n o n a ca se b y c a se b a si s w i t h b o t h t he F i r m ’ s a n d
 C l i e n t ’s e x p re s s w ri t t e n c o n s e n t .

 Under the NFL PCIL, MDL 2323 Settlement, Co-Lead Class Counsel may request payment of up to
 five percent (5%) of the benefits due t o you (the “Set Aside”). If such a request is made, the
 Court must first approve the Co-Lead Class Counsel’s request before payment of any percentage
 of the benefits to which you may be entitled. The Firm, at its sole discretion, may oppose such
 request for a Set Aside. If, however, the Court authorizes a Set Aside, Client specifically and
 expressly agree in advance the total amount of the Firm’s contingency fee shall increase by the
 same amount of any future Court Authorized Set Aside so that the Contingent Fee due to the Firm
 does not fall below the fee arrangement described above and in this section.

5.      Costs and Disbursements (               __)

Client is responsible for payment of all costs, expenses, and disbursements reasonably incurred by
the Firm on the Client’s behalf. Client expressly acknowledges Firm is not obligated to advance such
costs, expenses, and disbursements. Such costs, expenses, and disbursements may include, but are
not limited to; photocopy and facsimile charges, long distances telephone calls, travel expenses, and
computer research charges. The Firm may, at its sole discretion, advance litigation expenses related
to the costs of obtaining medical examinations and reports for use in the Concussion Settlement
Claims process, including reasonable travel and stay accommodations. All costs, including those
related to medical examination and travel shall be deducted from the client’s recovery after
application of the fee recoverable to the Firm.

6.      Trust Account (           __)

In the event that our Firm recovers compensation, all payments will be paid to our Firm’s trust
account first, where they will be then distributed to the Client with a detailed accounting minus the
agreed upon attorney’s fees and costs, expenses, and disbursements. Funds will be held in our
Firm’s IOTA trust account and the interest, if any, will be sent to the appropriate and applicable bar
foundation.




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7.     No Guarantees of Fees, Costs, or Results        ___)

It is difficult to estimate, in advance, the amount of fees and costs, expenses, or disbursements that
we will incur in connection with this matter. Please note that statement or estimate about this
subject that we have given you is just that – an estimate – and not a commitment to a flat or fixed
fee.

Similarly, and although we will give you our reasoned judgment and advice at all times, we cannot
guarantee any particular outcome of any engagement and thus cannot guarantee that the ultimate
outcome will be consistent with the client’s wishes.

8.     Term; Termination and/or Withdrawal (           ___)

This agreement is contemplated as continuing for the duration that may be necessary to pursue
claims, in relation to the scope of services described in Section 1, which shall commence on the date
that this agreement is executed by both parties (“Effective Date”). Thereafter, Client may terminate
the attorney-client relationship at any time and for any reason by providing notice to the Firm.
Such a termination does not, however, absolve Client of the responsibility to pay for services or
costs, expenses, and disbursements incurred prior to our receipt of notice of termination or
incurred subsequent to notice but, in or view, are reasonably necessary to protect Client’s interests.
In the event the client chooses to terminate the representation prior to any receipt of NFL PCIL,
MDL 2323 Settlement funds, the Client shall immediately reimburse the Firm for all costs, expenses
and disbursements incurred on behalf of the client including, but not limited to, the costs, expenses
or disbursements related to medical examinations and travel to such examinations, plus the fee for
the work done on the client’s file at the firm’s' standard h o u r l y rate. The current rates are:
Attorneys $400 per hour; paralegals and staff $250 per hour. Hourly rates are not charged on
contingency fee cases unless the case is terminated before all work is completed. Upon early
termination by the Client, Client specifically authorizes and acknowledges the Firm shall be entitled
to place a charging lien on any funds to which the Client would be otherwise entitled under the
NFL PCIL, MDL 2323 Settlement.

To the extent permitted by the applicable rules of professional conduct, we also reserve the right to
terminate the attorney-client relationship at any time. Similarly, and again to the extent permitted
by the applicable rules of professional conduct, Client will remain liable for services or costs,
expenses, and disbursements incurred prior to our decision to withdraw or incurred subsequent to
our decision but, in our view, reasonable necessary to protect Client’s interests.

The Firm does not ordinarily undertake to keep clients informed about subsequent developments
once the matter in question is at an end. If you would like the Firm to do so, please provide
notification in writing so that an arrangement can be made.

9.     Arbitration and Fee Disputes (       __)

Any and all fee disputes that the parties are unable to resolve between themselves shall
unequivocally be arbitrated in accordance with applicable state or country bar fee arbitration
procedures or, if no such procedures exist, in accordance with the commercial arbitration rules of
the American Arbitration Association, and any award issued in such arbitration shall be enforceable
in any court with jurisdiction. To the extent permitted by applicable law, the arbitration




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proceedings shall be strictly confidential. Unless otherwise agreed by the parties in writing, venue
for any arbitration proceedings shall occur in Miami, Florida.

10.    Special Arrangements and Third-Party Contracts (            ___)

You, the Client, may have entered into a special arrangement or contracted a third-party with
respect to a contractual debt or repayment arrangement with other individuals or entities who
are to be reimbursed out of any benefits payable to you as a result of the Firm’s efforts on your
behalf and under the NFL PCIL, MDL 2323 Settlement. Such individuals’ or entities’ claims shall and
will be the sole responsibility of the Client. Client expressly acknowledges the Firm is not now nor
will the Firm agree to be in the future a party to any special arrangements or contract with a third-
party with respect to any contractual debt or repayment arrangement with any third party
individual or entity. Any individual or entity with such a right to reimbursement shall have
absolutely no control in any fashion over the Firm’s handling of the legal aspects of the Client’s
case. The Firm shall not share any part of its Contingent Fee with any such individuals or entities.

11.    Severability (    ___)

In case any provision in this Agreement shall be invalid, illegal, or unenforceable, then (to the extent
permitted by law) the validity, legality, or enforceability of the remaining provisions shall not in any
way be affected or impaired thereby.

12.    Binding and Entire Agreement (         ___)

This letter represents the entire agreement between the parties, and no party is relying or entitled
to rely on any representation not expressly contained herein. In addition, no changes to this letter
may be made without the express written consent of all the parties hereto.

If this letter reflects your understanding of our relationship, please sign and return the enclosed
duplicate copy. Please note that unless and until we hear from you to the contrary, we will assume
that we are entitled to proceed under the terms of this letter. Consistent with firm policy, however,
we reserve the right to delay commencement of work on this matter until you have signed and
returned the engagement letter to us.

13.    Acknowledgement of Prior Provisions (          ___)

Now that you have read through this document in its entirety, please go back to the beginning of the
document and initial next to each provision where space within parenthesis is provided for you to
do so. By initialing on each space allotted, you are confirming that you have ready the provision,
understand the provision in its entirety, and have no additional questions regarding the information
provided in the provision.




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Again, we thank you for your trust in us and look forward to a mutually satisfactory and productive
relationship.

Respectfully,

____________________
Joey M. McCall, Esq.
Managing Partner
McCall | Atten

        By signing this contract, the individual is stating that they are the authorized representative
to make agreements, contracts, and claims for the injured party. The authorized representative
acts as an agent for the injured party to contract for legal services from the Firm.

Accepted and Agreed to by:

Client Signature:___            _____________________________________________________
Client Name:___




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Dear Client:

Thank you for selecting McCall|Atten (the “Firm”) to provide legal services to you (“Client”) to
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commenced by the filing of a separate complaint, any appeals related to litigation against Client, any
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As we have discussed, there are currently no conflicts of interest that are raised by your request
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whose consent is required.




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3.      Firm Personnel (           __)

Joey M. McCall, Esq (“Managing Partner”) will be primarily responsible for the supervision of
Client’s matter, but Client is engaging the Firm as a, whole and not Managing Partner individually.
As and when necessary, Managing Partner will draw upon the skill and expertise of other partners
and associates within the Firm and utilize paralegal and/or administrative staff to handle
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practice, Firm will retain counsel in the necessary jurisdiction.

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 recovered from the NFL PCIL, MDL 2323 Settlement for Client. The Firm’s fee will be deemed
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 MDL 2323. A s u b se q ue n t f e e a g r e e m e n t w i l l b e n e c e s sa r y f o r r e c o v e r y o u t s i d e o f
 s e t t le m e n t a n d w i ll b e t a k e n o n a ca se b y c a se b a si s w i t h b o t h t he F i r m ’ s a n d
 C l i e n t ’s e x p re s s w ri t t e n c o n s e n t .

 Under the NFL PCIL, MDL 2323 Settlement, Co-Lead Class Counsel may request payment of up to
 five percent (5%) of the benefits due t o you (the “Set Aside”). If such a request is made, the
 Court must first approve the Co-Lead Class Counsel’s request before payment of any percentage
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Claims process, including reasonable travel and stay accommodations. All costs, including those
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In the event that our Firm recovers compensation, all payments will be paid to our Firm’s trust
account first, where they will be then distributed to the Client with a detailed accounting minus the
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Firm’s IOTA trust account and the interest, if any, will be sent to the appropriate and applicable bar
foundation.

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7.     No Guarantees of Fees, Costs, or Results (       __)

It is difficult to estimate, in advance, the amount of fees and costs, expenses, or disbursements that
we will incur in connection with this matter. Please note that statement or estimate about this
subject that we have given you is just that – an estimate – and not a commitment to a flat or fixed
fee.

Similarly, and although we will give you our reasoned judgment and advice at all times, we cannot
guarantee any particular outcome of any engagement and thus cannot guarantee that the ultimate
outcome will be consistent with the client’s wishes.

8.     Term; Termination and/or Withdrawal (            __)

This agreement is contemplated as continuing for the duration that may be necessary to pursue
claims, in relation to the scope of services described in Section 1, which shall commence on the date
that this agreement is executed by both parties (“Effective Date”). Thereafter, Client may terminate
the attorney-client relationship at any time and for any reason by providing notice to the Firm.
Such a termination does not, however, absolve Client of the responsibility to pay for services or
costs, expenses, and disbursements incurred prior to our receipt of notice of termination or
incurred subsequent to notice but, in or view, are reasonably necessary to protect Client’s interests.
In the event the client chooses to terminate the representation prior to any receipt of NFL PCIL,
MDL 2323 Settlement funds, the Client shall immediately reimburse the Firm for all costs, expenses
and disbursements incurred on behalf of the client including, but not limited to, the costs, expenses
or disbursements related to medical examinations and travel to such examinations, plus the fee for
the work done on the client’s file at the firm’s' standard h o u r l y rate. The current rates are:
Attorneys $400 per hour; paralegals and staff $250 per hour. Hourly rates are not charged on
contingency fee cases unless the case is terminated before all work is completed. Upon early
termination by the Client, Client specifically authorizes and acknowledges the Firm shall be entitled
to place a charging lien on any funds to which the Client would be otherwise entitled under the
NFL PCIL, MDL 2323 Settlement.

To the extent permitted by the applicable rules of professional conduct, we also reserve the right to
terminate the attorney-client relationship at any time. Similarly, and again to the extent permitted
by the applicable rules of professional conduct, Client will remain liable for services or costs,
expenses, and disbursements incurred prior to our decision to withdraw or incurred subsequent to
our decision but, in our view, reasonable necessary to protect Client’s interests.

The Firm does not ordinarily undertake to keep clients informed about subsequent developments
once the matter in question is at an end. If you would like the Firm to do so, please provide
notification in writing so that an arrangement can be made.

9.     Arbitration and Fee Disputes (        _)

Any and all fee disputes that the parties are unable to resolve between themselves shall
unequivocally be arbitrated in accordance with applicable state or country bar fee arbitration
procedures or, if no such procedures exist, in accordance with the commercial arbitration rules of
the American Arbitration Association, and any award issued in such arbitration shall be enforceable
in any court with jurisdiction. To the extent permitted by applicable law, the arbitration


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proceedings shall be strictly confidential. Unless otherwise agreed by the parties in writing, venue
for any arbitration proceedings shall occur in Miami, Florida.

10.    Special Arrangements and Third-Party Contracts (             __)

You, the Client, may have entered into a special arrangement or contracted a third-party with
respect to a contractual debt or repayment arrangement with other individuals or entities who
are to be reimbursed out of any benefits payable to you as a result of the Firm’s efforts on your
behalf and under the NFL PCIL, MDL 2323 Settlement. Such individuals’ or entities’ claims shall and
will be the sole responsibility of the Client. Client expressly acknowledges the Firm is not now nor
will the Firm agree to be in the future a party to any special arrangements or contract with a third-
party with respect to any contractual debt or repayment arrangement with any third party
individual or entity. Any individual or entity with such a right to reimbursement shall have
absolutely no control in any fashion over the Firm’s handling of the legal aspects of the Client’s
case. The Firm shall not share any part of its Contingent Fee with any such individuals or entities.

11.    Severability (     __)

In case any provision in this Agreement shall be invalid, illegal, or unenforceable, then (to the extent
permitted by law) the validity, legality, or enforceability of the remaining provisions shall not in any
way be affected or impaired thereby.

12.    Binding and Entire Agreement (           _)

This letter represents the entire agreement between the parties, and no party is relying or entitled
to rely on any representation not expressly contained herein. In addition, no changes to this letter
may be made without the express written consent of all the parties hereto.

If this letter reflects your understanding of our relationship, please sign and return the enclosed
duplicate copy. Please note that unless and until we hear from you to the contrary, we will assume
that we are entitled to proceed under the terms of this letter. Consistent with firm policy, however,
we reserve the right to delay commencement of work on this matter until you have signed and
returned the engagement letter to us.

13.    Acknowledgement of Prior Provisions (           __)

Now that you have read through this document in its entirety, please go back to the beginning of the
document and initial next to each provision where space within parenthesis is provided for you to
do so. By initialing on each space allotted, you are confirming that you have ready the provision,
understand the provision in its entirety, and have no additional questions regarding the information
provided in the provision.




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Again, we thank you for your trust in us and look forward to a mutually satisfactory and productive
relationship.

Respectfully,

____________________
Joey M. McCall, Esq.
Managing Partner
McCall | Atten

        By signing this contract, the individual is stating that they are the authorized representative
to make agreements, contracts, and claims for the injured party. The authorized representative
acts as an agent for the injured party to contract for legal services from the Firm.

Accepted and Agreed to by:

Client Signature:__             _______________________________________________________
Client Name:___             _________________________________________________________
Date:__            ________________________________________________________________
Client Phone Number(s):__4              __________________________________________________
Client Email Address(s):___                 ______________________________________________




                                                                                                     Ew

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                BASELINE ASSESSMENT PROGRAM HIPAA AUTHORIZATION FORM

You must complete and sign this Form if you are a Retired NFL Football Player or the Representative Claimant
of a Retired NFL Football Player and want to participate in the Baseline Assessment Program (the “BAP”). This
Form authorizes the use and disclosure of “Protected Health Information” as that term is defined in 45 C.F.R.
§ 160.103, relating to your participation in the BAP. Protected Health Information includes, but is not limited to,
information regarding the Retired NFL Football Player’s medical care, treatment, physical or mental condition, and
medical expenses.

Complete and sign this Authorization and submit it to the BAP Administrator.

The capitalized terms not defined in this form are defined in the Settlement Agreement, which is available at
www.nflconcussionsettlement.com or by calling toll free (855) 887-3485.

You should retain a copy of all materials submitted to the BAP Administrator.
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                     BASELINE ASSESSMENT PROGRAM HIPAA AUTHORIZATION FORM

                               I.          RETIRED NFL FOOTBALL PLAYER INFORMATION

Settlement Program ID                                                                      |           |           |           |     |   |    |   |   |   |
                               First                                                           M.I.                        Last                                           Suffix

Retired NFL Football
Player Name

Social Security
Number, Taxpayer ID
or Foreign ID                      |       |       |       |-|      |        |-|       |       |           |           |
Number (if Retired                                                                                                                 Date of Birth of
                                                                                                                                                      _____/_______/_______
NFL Football Player is                                                  or                                                          Retired NFL            (Month/Day/Year)

not a U.S. Citizen) of         |       |       |       |     |      |        |     |       |       |           |           |       Football Player
Retired NFL Football
Player (if known)
     II.      PARTIES AUTHORIZED TO USE AND DISCLOSE PROTECTED HEALTH INFORMATION

By signing and submitting this Form, I authorize the use and disclosure of all Protected Health Information regarding
my (or the Retired NFL Football Player’s, if signed by a Representative Claimant) medical care, treatment, physical
or mental condition, and medical expenses by the Claims Administrator, Special Master, BAP Administrator, Lien
Resolution Administrator, Qualified BAP Providers, Qualified BAP Pharmacy Vendors, Qualified MAF Physicians,
Appeals Advisory Panel members, Appeals Advisory Panel Consultants, the Court, Class Counsel, Counsel for the
NFL Parties, and the NFL Parties (which, in turn, may share Protected Health Information with the NFL Parties’
insurers or reinsurers) in the performance of their functions and duties relating to the BAP under the Settlement
Agreement.


                                                                 III.        AUTHORIZATION

By signing below, I acknowledge and understand all of the following:

1.         I have the right to revoke this authorization at any time. If I wish to revoke the authorization, I must do so in
           writing and must provide my written revocation to the BAP Administrator. The written revocation must be
           signed and dated. The revocation will not apply to any disclosures that already have been made in reliance on
           this authorization prior to the date upon which the BAP Administrator receives my written revocation.

2.         My authorization of the disclosure of the subject Retired NFL Football Player’s Protected Health Information
           is voluntary, which means I can refuse to sign this Form. I do not need to sign this Form to obtain health
           treatment from any medical provider or to enroll in or be eligible for any health plan benefits. However, I
           recognize that if I do not sign this Form and submit it to the BAP Administrator, the BAP Administrator may
           be unable to process the results of my baseline assessment examination for the purposes set forth in the
           Settlement Agreement and may be unable to provide the information that certain third parties, such as the
           Claims Administrator, need to process a potential claim for a Monetary Award or BAP Supplemental Benefits,
           or otherwise perform their rights and obligations under the Settlement Agreement.




BAP HIPAA Authorization Form for the NFL Concussion Settlement Program                                                                                              Page 1 of 3
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                  BASELINE ASSESSMENT PROGRAM HIPAA AUTHORIZATION FORM

3.     Any Protected Health Information or other information released to the Claims Administrator, Special Master,
       BAP Administrator, Lien Resolution Administrator, Qualified BAP Providers, Qualified BAP Pharmacy
       Vendors, Qualified MAF Physicians, Appeals Advisory Panel members, Appeals Advisory Panel Consultants,
       the Court, Class Counsel, Counsel for the NFL Parties, and the NFL Parties (including the NFL Parties’ insurers
       or reinsurers) may be subject to re-disclosure by such person/entity, and may no longer be protected by
       applicable federal and state privacy laws. Each of those persons and entities, however, is permitted to use and
       disclose your information only in accordance with this Form, the Settlement Agreement, a contract executed
       pursuant to the Settlement Agreement, orders of the Court, and/or applicable law.

4.     My Protected Health Information may include information relating to sexually transmitted disease, acquired
       immunodeficiency syndrome (“AIDS”), or human immunodeficiency virus (“HIV”), behavioral or mental
       health services and treatment for alcohol and drug abuse.

5.     This Form is valid from the date of my signature in Section V and expires on December 31, 2032.

6.     I have a right to receive and retain a copy of this Form.

7.     Any photostatic copy of this Form shall have the same authority as the original, and may be substituted in its
       place.

                              IV.    CONSENT TO PARTICIPATE IN RESEARCH

       By checking this box, the Retired NFL Football Player elects to provide his medical records (and, as such, his
       Protected Health Information) for use in connection with medical research into cognitive impairment and
       safety and injury prevention with respect to football players pursuant to Section 5.10(a) of the Settlement
       Agreement. Any personally identifying information concerning the Retired NFL Football Player will be
       redacted from medical records or information provided pursuant to this consent in accordance with the
       standards set forth in 45 C.F.R. § 164.514(a)-(b).

                                                  V.     SIGNATURE

The Retired NFL Football Player or Representative Claimant of the Retired NFL Football Player named in Section I
must sign and date this Form below. By signing below, I declare under penalty of perjury, pursuant to 28 U.S.C.
§ 1746, that all information provided in this HIPAA Authorization Form is true and correct to the best of my
knowledge, information and belief.

     Signature                                                              Date     |   |   |/|     |    |/|     |     |     |      |
                                                                                                   (Month/Day/Year)

                   Fi                                         M.I.   Last                                                   Suffix
Printed Name

If you are signing this Form as a Representative Claimant,
describe your relationship to the Retired NFL Football Player
and your authority to act on his behalf:




BAP HIPAA Authorization Form for the NFL Concussion Settlement Program                                                Page 2 of 3
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                BASELINE ASSESSMENT PROGRAM HIPAA AUTHORIZATION FORM

                                   VI.       HOW TO SUBMIT THIS FORM
You may submit this Form in one of three ways:
                                                 NFL Class Action Settlement
                                                 BAP Administrator
By U.S. Mail:
                                                 P.O. Box 53407
                                                 New Orleans, LA 70153
                                                 NFL Class Action Settlement
                                                 c/o Garretson Resolution Group
 By Delivery
                                                 935 Gravier St., Suite 1400
                                                 New Orleans, LA 70112




BAP HIPAA Authorization Form for the NFL Concussion Settlement Program              Page 3 of 3
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                MONETARY AWARD CLAIM PACKAGE HIPAA AUTHORIZATION FORM

You must complete and sign this Form if you are a Retired NFL Football Player or the Representative Claimant
of a Retired NFL Football Player and want to apply for a Monetary Award. This Form authorizes the use and
disclosure of “Protected Health Information” as that term is defined in 45 C.F.R. § 160.103, relating to the
processing of your claim in the NFL Concussion Settlement Program. Protected Health Information includes, but is
not limited to, information regarding the Retired NFL Football Player’s medical care, treatment, physical or mental
condition, and medical expenses.


                             I.   RETIRED NFL FOOTBALL PLAYER INFORMATION

Settlement Program ID                                   |       |        |           |           |             |           |         |           |           |
                    First                                           M.I.                     Last                                                                                         Suffix

Player Name

Social Security Number, Taxpayer ID or                          |        |           |           |-|                   |         |-|                 |           |       |        |
Foreign ID Number (if Retired NFL Football
                                                                                                                           or
Player is not a U.S. Citizen) of Retired NFL
Football Player (if known)                                  |        |           |           |             |           |         |           |           |           |        |       |


Date of Birth of Retired NFL Football Player                                 |           |           |/|           |       |/|           |           |       |       |
                                                                                                               (Month/Day/Year)



         II.   ENTITIES AUTHORIZED TO USE AND DISCLOSE PROTECTED HEALTH INFORMATION

By signing and submitting this Form, I authorize the use and disclosure of all Protected Health Information
regarding my (or the Retired NFL Football Player’s, if signed by a Representative Claimant) medical care,
treatment, physical or mental condition, and medical expenses relating to my claim in the In re: National Football
League Players’ Concussion Injury Litigation Settlement program, as follows: (1) by the Claims Administrator,
Special Masters, BAP Administrator, Lien Resolution Administrator, designated Qualified BAP Providers, Qualified
BAP Pharmacy Vendors, Qualified MAF Physicians, Appeals Advisory Panel members, Appeals Advisory Panel
Consultants, the Court, Class Counsel, Counsel for the NFL Parties and the NFL Parties (which, in turn, may share
the Protected Health Information with the NFL Parties’ insurers or reinsurers) for use and/or disclosure with one
another in the performance of their functions and duties pursuant to the Settlement Agreement; (2) by the Lien
Resolution Administrator for use and/or disclosure to the holders of any liens, claims, or rights of subrogation,
indemnity, reimbursement, conditional or other payments, or interests of any type, including all Governmental
Payors (such as the Medicare Program, any state Medicaid Program, the Department of Veterans Affairs, Tricare,
Indian Health Services, and their respective contractors), Medicare Part C or Part D Programs, private health care
providers, health plans, and health insurers, and any contractors or recovery agents of the foregoing persons and
entities (collectively, “Lienholders”), for the purpose of identifying and resolving any potential Liens in connection
with any Monetary Award that I may receive; and (3) by the Lienholders for disclosure to the Lien Resolution
Administrator and Claims Administrator for the purpose of identifying and resolving any potential Liens in
connection with any Monetary Award that I may receive.




Monetary Award Claim Package HIPAA Authorization Form                                                                                                                        Page 1 of 3
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                 MONETARY AWARD CLAIM PACKAGE HIPAA AUTHORIZATION FORM

                                                III.     AUTHORIZATION

By signing below, I acknowledge and understand all of the following:

       I have the right to revoke this authorization at any time. If I wish to revoke the authorization, I must do so in
       writing and must provide my written revocation to the Claims Administrator. The written revocation must be
1.
       signed and dated. The revocation will not apply to any disclosures that already have been made in reliance
       on this authorization prior to the date upon which the Claims Administrator receives my written revocation.

       My authorization of the disclosure of the subject Retired NFL Football Player’s Protected Health Information
       is voluntary, which means I can refuse to sign this Form. I do not need to sign this Form to obtain health
2.     treatment from any medical provider or to enroll in or be eligible for any health plan benefits. However, I
       recognize that if I do not sign this Form and submit it to the Claims Administrator, my Claim Package will be
       incomplete under the terms of the Settlement Agreement and will not be processed.

       Any Protected Health Information or other information released to the Claims Administrator, Special Masters,
       BAP Administrator, Lien Resolution Administrator, Qualified BAP Providers, Qualified BAP Pharmacy
       Vendors, Qualified MAF Physicians, Appeals Advisory Panel members, Appeals Advisory Panel
       Consultants, the Court, Class Counsel, Counsel for the NFL Parties and the NFL Parties (including the NFL
3.
       Parties’ insurers or reinsurers) may be subject to re-disclosure by such person/entity, and may no longer be
       protected by applicable federal and state privacy laws. Each of those persons and entities, however, is
       permitted to use and disclose your information only in accordance with this Form, the Settlement Agreement,
       a contract executed pursuant to the Settlement Agreement, orders of the Court, and/or applicable law.

       My Protected Health Information may include information relating to sexually transmitted disease, acquired
4.     immunodeficiency syndrome (“AIDS”), or human immunodeficiency virus (“HIV”), behavioral or mental health
       services and treatment for alcohol and drug abuse.

       This Form is valid from the date of my signature in Section IV until the date that the Claims Administrator
5.
       performs the last act to process the claim for a Monetary Award that I submitted with this Form.

6.     I have a right to receive and retain a copy of this Form.

       Any photostatic copy of this Form shall have the same authority as the original, and may be substituted in its
7.
       place.

                                                   IV.    SIGNATURE

The Retired NFL Football Player or Representative Claimant of the Retired NFL Football Player named in Section I
must sign and date this Form below. By signing below, I declare under penalty of perjury, pursuant to 28
U.S.C. § 1746, that all information provided in this HIPAA Authorization Form is true and correct to the best
of my knowledge, information and belief.

     Signature                                                              Date     |   |   |/|    |     |/|     |   |   |    |
                                                                                                   (Month/Day/Year)

                    First                                          M.I.   Last                                            Suffix
 Printed Name


If you are signing this Form as a Representative Claimant,
describe your relationship to the Retired NFL Football Player and
your authority to act on his behalf:

Monetary Award Claim Package HIPAA Authorization Form                                                           Page 2 of 3
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                 MONETARY AWARD CLAIM PACKAGE HIPAA AUTHORIZATION FORM

                                     V.    HOW TO SUBMIT THIS FORM

You may submit this Form in one of two ways:
                                               NFL Class Action Settlement
                                               Claims Administrator
  By U.S. Mail:
                                               P.O. Box 25369
                                               Richmond, VA 23260
                                               NFL Class Action Settlement
                                               c/o BrownGreer PLC
  By Delivery:
                                               250 Rocketts Way
                                               Richmond, VA 23231




Monetary Award Claim Package HIPAA Authorization Form                                 Page 3 of 3
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                              REQUEST FOR CHANGE IN REPRESENTATION STATUS
 Use this form to update your representation status in the NFL Concussion Settlement Program. You can use this
 form to notify the Claims Administrator that you have changed lawyers, added representation when you previously
 were unrepresented, or removed representation and will proceed as unrepresented.

                                      I. SETTLEMENT CLASS MEMBER INFORMATION

 Settlement Program ID:
                First                                              M.I.   Last

 Name:


                                II. CHANGE FROM ONE LAWYER TO ANOTHER LAWYER
 Complete this Section if you have been represented by a lawyer and are notifying the Claims Administrator of the
 change to your being represented by a different lawyer. Only one lawyer can represent each Settlement Class
 Member.
                Law Firm Name

 Prior
 Lawyer:        Lawyer First Name                                  M.I.   Lawyer Last Name               Suffix



                Law Firm Name



                Lawyer First Name                                  M.I.   Lawyer Last Name               Suffix



                Street                                                                                   Suite
 New
 Lawyer:        City                                                      State/Province


                Postal Code                                               Country


                Email                                                     Telephone




                                    III. REMOVE REPRESENTATION BY CURRENT LAWYER
 Complete this Section if you have been represented by a lawyer and are notifying the Claims Administrator of
 your removal of representation by that lawyer.
                Law Firm Name



 Prior
                Lawyer First Name                                  M.I.   Lawyer Last Name               Suffix
 Lawyer:




REP-2 v.1                                      www.NFLConcussionSettlement.com
530748                                                     1 of 2
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                                      IV. ADD REPRESENTATION FOR LAWYER
 Complete this Section if you have been unrepresented and are notifying the Claims Administrator of your
 representation by a lawyer.
                 Law Firm Name



                 Lawyer First Name                               M.I.     Lawyer Last Name                         Suffix



                 Street                                                                                            Suite
 New
 Lawyer:         City                                                     State/Province


                 Postal Code                                              Country


                 Email                                                    Telephone




                                                   V. SIGNATURE

 I ask the Claims Administrator to change my representation status as set forth above.

 Class
                                                                                             ____/_____/______
 Member                                                                          Date:          (Month/Day/Year)
 Signature:
                    First Name                                Last Name                                        M.I

 Name:

 Submit this form using one of the methods listed below. If you have portal access, you can also upload a
 completed copy of this form to your file.

 By Email:                           ClaimsAdministrator@NFLConcussionSettlement.com
                                           NFL Concussion Settlement
                                           Claims Administrator
 By U.S. Mail:
                                           P.O. Box 25369
                                           Richmond, VA 23260
                                           NFL Concussion Settlement
                                           c/o BrownGreer PLC
 By Delivery:
                                           250 Rocketts Way
                                           Richmond, VA 23231




REP-2 v.1                                    www.NFLConcussionSettlement.com
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Dear Client:

Thank you for selecting McCall|Atten (the “Firm”) to provide legal services to you (“Client”) to
recover any and all monetary damages through the pursuit of your claim in the NFL Concussion
Claims Settlement Facility.

The purpose of this letter is to set forth the terms upon which we understand you intend for us to
proceed. Although this letter is somewhat lengthy, it is better for both attorney and client to address
matters up front in order to minimize the likelihood of subsequent misunderstandings or
disagreement.

1.     Scope of Services (       _)

Client has engaged the Firm to represent it in connection with providing legal services reasonably
related to the recovery of economic and non-economic damages resulting from the NFL Players’
Concussion Injury Litigation (“NFL PCIL”), MDL 2323.

This engagement letter does not engage us to undertake any matter not described above. For
example, this engagement letter does not include: representing Client in any formal legal actions
commenced by the filing of a separate complaint, any appeals related to litigation against Client, any
workman’s compensation claims, unemployment claims, or any other representation of any
affiliates, subsidiaries, or agents of Client.

Any non-legal related services the Client may require or request in connection with the claims
process, such as medical costs, Independent Medical Examinations or Opinions, advances for health
or palliative care or any other non-legal cost or service shall not be within the Firm’s Scope of
Services and shall not be provided for or paid in advance by the Firm.

2.     Conflicts of Interest (        _)

As we have discussed, there are currently no conflicts of interest that are raised by your request
that we undertake this matter. However, should any conflicts of interest become known to us
throughout the course of our providing legal representation, said conflicts will be addressed in
another letter. Please note that in the event of any conflicts of interest that may arise, we may not
be able to continue with this representation if we do not receive signed waivers back from all parties
whose consent is required.




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3.      Firm Personnel (            _)

Joey M. McCall, Esq (“Managing Partner”) will be primarily responsible for the supervision of
Client’s matter, but Client is engaging the Firm as a, whole and not Managing Partner individually.
As and when necessary, Managing Partner will draw upon the skill and expertise of other partners
and associates within the Firm and utilize paralegal and/or administrative staff to handle
administrative tasks. If necessary to retain counsel in a jurisdiction in which the Firm does not
practice, Firm will retain counsel in the necessary jurisdiction.

4.      Legal Fees (           )

 The Firm will represent Client on a Contingency Fee basis with no retainer or other money due
 in advance from the Client. I n c o n s i d e r a t i o n f o r t h e F i r m ’ s s e r v i c e s , the
 Firm shall and is entitled to receive and/or recover a 10% fee of any and all funds
 recovered from the NFL PCIL, MDL 2323 Settlement for Client. The Firm’s fee will be deemed
 earned upon the initiation of its pursuit for recovery on behalf of the Client from the NFL PCIL,
 MDL 2323. A s u b se q ue n t f e e a g r e e m e n t w i l l b e n e c e s sa r y f o r r e c o v e r y o u t s i d e o f
 s e t t le m e n t a n d w i ll b e t a k e n o n a ca se b y c a se b a si s w i t h b o t h t he F i r m ’ s a n d
 C l i e n t ’s e x p re s s w ri t t e n c o n s e n t .

 Under the NFL PCIL, MDL 2323 Settlement, Co-Lead Class Counsel may request payment of up to
 five percent (5%) of the benefits due t o you (the “Set Aside”). If such a request is made, the
 Court must first approve the Co-Lead Class Counsel’s request before payment of any percentage
 of the benefits to which you may be entitled. The Firm, at its sole discretion, may oppose such
 request for a Set Aside. If, however, the Court authorizes a Set Aside, Client specifically and
 expressly agree in advance the total amount of the Firm’s contingency fee shall increase by the
 same amount of any future Court Authorized Set Aside so that the Contingent Fee due to the Firm
 does not fall below the fee arrangement described above and in this section.

5.      Costs and Disbursements (                 _)

Client is responsible for payment of all costs, expenses, and disbursements reasonably incurred by
the Firm on the Client’s behalf. Client expressly acknowledges Firm is not obligated to advance such
costs, expenses, and disbursements. Such costs, expenses, and disbursements may include, but are
not limited to; photocopy and facsimile charges, long distances telephone calls, travel expenses, and
computer research charges. The Firm may, at its sole discretion, advance litigation expenses related
to the costs of obtaining medical examinations and reports for use in the Concussion Settlement
Claims process, including reasonable travel and stay accommodations. All costs, including those
related to medical examination and travel shall be deducted from the client’s recovery after
application of the fee recoverable to the Firm.

6.      Trust Account (            _)

In the event that our Firm recovers compensation, all payments will be paid to our Firm’s trust
account first, where they will be then distributed to the Client with a detailed accounting minus the
agreed upon attorney’s fees and costs, expenses, and disbursements. Funds will be held in our
Firm’s IOTA trust account and the interest, if any, will be sent to the appropriate and applicable bar
foundation.

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7.     No Guarantees of Fees, Costs, or Results (          _)

It is difficult to estimate, in advance, the amount of fees and costs, expenses, or disbursements that
we will incur in connection with this matter. Please note that statement or estimate about this
subject that we have given you is just that – an estimate – and not a commitment to a flat or fixed
fee.

Similarly, and although we will give you our reasoned judgment and advice at all times, we cannot
guarantee any particular outcome of any engagement and thus cannot guarantee that the ultimate
outcome will be consistent with the client’s wishes.

8.     Term; Termination and/or Withdrawal (               _)

This agreement is contemplated as continuing for the duration that may be necessary to pursue
claims, in relation to the scope of services described in Section 1, which shall commence on the date
that this agreement is executed by both parties (“Effective Date”). Thereafter, Client may terminate
the attorney-client relationship at any time and for any reason by providing notice to the Firm.
Such a termination does not, however, absolve Client of the responsibility to pay for services or
costs, expenses, and disbursements incurred prior to our receipt of notice of termination or
incurred subsequent to notice but, in or view, are reasonably necessary to protect Client’s interests.
In the event the client chooses to terminate the representation prior to any receipt of NFL PCIL,
MDL 2323 Settlement funds, the Client shall immediately reimburse the Firm for all costs, expenses
and disbursements incurred on behalf of the client including, but not limited to, the costs, expenses
or disbursements related to medical examinations and travel to such examinations, plus the fee for
the work done on the client’s file at the firm’s' standard h o u r l y rate. The current rates are:
Attorneys $400 per hour; paralegals and staff $250 per hour. Hourly rates are not charged on
contingency fee cases unless the case is terminated before all work is completed. Upon early
termination by the Client, Client specifically authorizes and acknowledges the Firm shall be entitled
to place a charging lien on any funds to which the Client would be otherwise entitled under the
NFL PCIL, MDL 2323 Settlement.

To the extent permitted by the applicable rules of professional conduct, we also reserve the right to
terminate the attorney-client relationship at any time. Similarly, and again to the extent permitted
by the applicable rules of professional conduct, Client will remain liable for services or costs,
expenses, and disbursements incurred prior to our decision to withdraw or incurred subsequent to
our decision but, in our view, reasonable necessary to protect Client’s interests.

The Firm does not ordinarily undertake to keep clients informed about subsequent developments
once the matter in question is at an end. If you would like the Firm to do so, please provide
notification in writing so that an arrangement can be made.

9.     Arbitration and Fee Disputes (        _)

Any and all fee disputes that the parties are unable to resolve between themselves shall
unequivocally be arbitrated in accordance with applicable state or country bar fee arbitration
procedures or, if no such procedures exist, in accordance with the commercial arbitration rules of
the American Arbitration Association, and any award issued in such arbitration shall be enforceable
in any court with jurisdiction. To the extent permitted by applicable law, the arbitration


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proceedings shall be strictly confidential. Unless otherwise agreed by the parties in writing, venue
for any arbitration proceedings shall occur in Miami, Florida.

10.    Special Arrangements and Third-Party Contracts (              )

You, the Client, may have entered into a special arrangement or contracted a third-party with
respect to a contractual debt or repayment arrangement with other individuals or entities who
are to be reimbursed out of any benefits payable to you as a result of the Firm’s efforts on your
behalf and under the NFL PCIL, MDL 2323 Settlement. Such individuals’ or entities’ claims shall and
will be the sole responsibility of the Client. Client expressly acknowledges the Firm is not now nor
will the Firm agree to be in the future a party to any special arrangements or contract with a third-
party with respect to any contractual debt or repayment arrangement with any third party
individual or entity. Any individual or entity with such a right to reimbursement shall have
absolutely no control in any fashion over the Firm’s handling of the legal aspects of the Client’s
case. The Firm shall not share any part of its Contingent Fee with any such individuals or entities.

11.    Severability (_      )

In case any provision in this Agreement shall be invalid, illegal, or unenforceable, then (to the extent
permitted by law) the validity, legality, or enforceability of the remaining provisions shall not in any
way be affected or impaired thereby.

12.    Binding and Entire Agreement (            )

This letter represents the entire agreement between the parties, and no party is relying or entitled
to rely on any representation not expressly contained herein. In addition, no changes to this letter
may be made without the express written consent of all the parties hereto.

If this letter reflects your understanding of our relationship, please sign and return the enclosed
duplicate copy. Please note that unless and until we hear from you to the contrary, we will assume
that we are entitled to proceed under the terms of this letter. Consistent with firm policy, however,
we reserve the right to delay commencement of work on this matter until you have signed and
returned the engagement letter to us.

13.    Acknowledgement of Prior Provisions (                )

Now that you have read through this document in its entirety, please go back to the beginning of the
document and initial next to each provision where space within parenthesis is provided for you to
do so. By initialing on each space allotted, you are confirming that you have ready the provision,
understand the provision in its entirety, and have no additional questions regarding the information
provided in the provision.




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Again, we thank you for your trust in us and look forward to a mutually satisfactory and productive
relationship.

Respectfully,

____________________
Joey M. McCall, Esq.
Managing Partner
McCall | Atten

        By signing this contract, the individual is stating that they are the authorized representative
to make agreements, contracts, and claims for the injured party. The authorized representative
acts as an agent for the injured party to contract for legal services from the Firm.

Accepted and Agreed to by:

Client Signature:__                 _____________________________________________________
Client Name:___                ________________________________________________________
Date:__               _______________________________________________________________
Client Phone Number(s):_                  __________________________________________________
Client Email Address(s):___                      ___________________________________________




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Dear Client:

Thank you for selecting McCall|Atten (the “Firm”) to provide legal services to you (“Client”) to
recover any and all monetary damages through the pursuit of your claim in the NFL Concussion
Claims Settlement Facility.

The purpose of this letter is to set forth the terms upon which we understand you intend for us to
proceed. Although this letter is somewhat lengthy, it is better for both attorney and client to address
matters up front in order to minimize the likelihood of subsequent misunderstandings or
disagreement.

1.     Scope of Services (        )

Client has engaged the Firm to represent it in connection with providing legal services reasonably
related to the recovery of economic and non-economic damages resulting from the NFL Players’
Concussion Injury Litigation (“NFL PCIL”), MDL 2323.

This engagement letter does not engage us to undertake any matter not described above. For
example, this engagement letter does not include: representing Client in any formal legal actions
commenced by the filing of a separate complaint, any appeals related to litigation against Client, any
workman’s compensation claims, unemployment claims, or any other representation of any
affiliates, subsidiaries, or agents of Client.

Any non-legal related services the Client may require or request in connection with the claims
process, such as medical costs, Independent Medical Examinations or Opinions, advances for health
or palliative care or any other non-legal cost or service shall not be within the Firm’s Scope of
Services and shall not be provided for or paid in advance by the Firm.

2.     Conflicts of Interest

As we have discussed, there are currently no conflicts of interest that are raised by your request
that we undertake this matter. However, should any conflicts of interest become known to us
throughout the course of our providing legal representation, said conflicts will be addressed in
another letter. Please note that in the event of any conflicts of interest that may arise, we may not
be able to continue with this representation if we do not receive signed waivers back from all parties
whose consent is required.
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3.      Firm Personnel

Joey M. McCall, Esq (“Managing Partner”) will be primarily responsible for the supervision of
Client’s matter, but Client is engaging the Firm as a, whole and not Managing Partner individually.
As and when necessary, Managing Partner will draw upon the skill and expertise of other partners
and associates within the Firm and utilize paralegal and/or administrative staff to handle
administrative tasks. If necessary to retain counsel in a jurisdiction in which the Firm does not
practice, Firm will retain counsel in the necessary jurisdiction.

4.      Legal Fees (

 The Firm will represent Client on a Contingency Fee basis with no retainer or other money due
 in advance from the Client. I n c o n s i d e r a t i o n f o r t h e F i r m ’ s s e r v i c e s , the
 Firm shall and is entitled to receive and/or recover a 10% fee of any and all funds
 recovered from the NFL PCIL, MDL 2323 Settlement for Client. The Firm’s fee will be deemed
 earned upon the initiation of its pursuit for recovery on behalf of the Client from the NFL PCIL,
 MDL 2323. A s u b se q ue n t f e e a g r e e m e n t w i l l b e n e c e s sa r y f o r r e c o v e r y o u t s i d e o f
 s e t t le m e n t a n d w i ll b e t a k e n o n a ca se b y c a se b a si s w i t h b o t h t he F i r m ’ s a n d
 C l i e n t ’s e x p re s s w ri t t e n c o n s e n t .

 Under the NFL PCIL, MDL 2323 Settlement, Co-Lead Class Counsel may request payment of up to
 five percent (5%) of the benefits due t o you (the “Set Aside”). If such a request is made, the
 Court must first approve the Co-Lead Class Counsel’s request before payment of any percentage
 of the benefits to which you may be entitled. The Firm, at its sole discretion, may oppose such
 request for a Set Aside. If, however, the Court authorizes a Set Aside, Client specifically and
 expressly agree in advance the total amount of the Firm’s contingency fee shall increase by the
 same amount of any future Court Authorized Set Aside so that the Contingent Fee due to the Firm
 does not fall below the fee arrangement described above and in this section.

5.      Costs and Disbursements (

Client is responsible for payment of all costs, expenses, and disbursements reasonably incurred by
the Firm on the Client’s behalf. Client expressly acknowledges Firm is not obligated to advance such
costs, expenses, and disbursements. Such costs, expenses, and disbursements may include, but are
not limited to; photocopy and facsimile charges, long distances telephone calls, travel expenses, and
computer research charges. The Firm may, at its sole discretion, advance litigation expenses related
to the costs of obtaining medical examinations and reports for use in the Concussion Settlement
Claims process, including reasonable travel and stay accommodations. All costs, including those
related to medical examination and travel shall be deducted from the client’s recovery after
application of the fee recoverable to the Firm.

6.      Trust Account (

In the event that our Firm recovers compensation, all payments will be paid to our Firm’s trust
account first, where they will be then distributed to the Client with a detailed accounting minus the
agreed upon attorney’s fees and costs, expenses, and disbursements. Funds will be held in our
Firm’s IOTA trust account and the interest, if any, will be sent to the appropriate and applicable bar
foundation.




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7.     No Guarantees of Fees, Costs, or Results

It is difficult to estimate, in advance, the amount of fees and costs, expenses, or disbursements that
we will incur in connection with this matter. Please note that statement or estimate about this
subject that we have given you is just that – an estimate – and not a commitment to a flat or fixed
fee.

Similarly, and although we will give you our reasoned judgment and advice at all times, we cannot
guarantee any particular outcome of any engagement and thus cannot guarantee that the ultimate
outcome will be consistent with the client’s wishes.

8.     Term; Termination and/or Withdrawal (               )

This agreement is contemplated as continuing for the duration that may be necessary to pursue
claims, in relation to the scope of services described in Section 1, which shall commence on the date
that this agreement is executed by both parties (“Effective Date”). Thereafter, Client may terminate
the attorney-client relationship at any time and for any reason by providing notice to the Firm.
Such a termination does not, however, absolve Client of the responsibility to pay for services or
costs, expenses, and disbursements incurred prior to our receipt of notice of termination or
incurred subsequent to notice but, in or view, are reasonably necessary to protect Client’s interests.
In the event the client chooses to terminate the representation prior to any receipt of NFL PCIL,
MDL 2323 Settlement funds, the Client shall immediately reimburse the Firm for all costs, expenses
and disbursements incurred on behalf of the client including, but not limited to, the costs, expenses
or disbursements related to medical examinations and travel to such examinations, plus the fee for
the work done on the client’s file at the firm’s' standard h o u r l y rate. The current rates are:
Attorneys $400 per hour; paralegals and staff $250 per hour. Hourly rates are not charged on
contingency fee cases unless the case is terminated before all work is completed. Upon early
termination by the Client, Client specifically authorizes and acknowledges the Firm shall be entitled
to place a charging lien on any funds to which the Client would be otherwise entitled under the
NFL PCIL, MDL 2323 Settlement.

To the extent permitted by the applicable rules of professional conduct, we also reserve the right to
terminate the attorney-client relationship at any time. Similarly, and again to the extent permitted
by the applicable rules of professional conduct, Client will remain liable for services or costs,
expenses, and disbursements incurred prior to our decision to withdraw or incurred subsequent to
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Any and all fee disputes that the parties are unable to resolve between themselves shall
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proceedings shall be strictly confidential. Unless otherwise agreed by the parties in writing, venue
for any arbitration proceedings shall occur in Miami, Florida.

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You, the Client, may have entered into a special arrangement or contracted a third-party with
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behalf and under the NFL PCIL, MDL 2323 Settlement. Such individuals’ or entities’ claims shall and
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case. The Firm shall not share any part of its Contingent Fee with any such individuals or entities.

11.    Severability (       )

In case any provision in this Agreement shall be invalid, illegal, or unenforceable, then (to the extent
permitted by law) the validity, legality, or enforceability of the remaining provisions shall not in any
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This letter represents the entire agreement between the parties, and no party is relying or entitled
to rely on any representation not expressly contained herein. In addition, no changes to this letter
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If this letter reflects your understanding of our relationship, please sign and return the enclosed
duplicate copy. Please note that unless and until we hear from you to the contrary, we will assume
that we are entitled to proceed under the terms of this letter. Consistent with firm policy, however,
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Respectfully,

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Joey M. McCall, Esq.
Managing Partner
McCall | Atten

        By signing this contract, the individual is stating that they are the authorized representative
to make agreements, contracts, and claims for the injured party. The authorized representative
acts as an agent for the injured party to contract for legal services from the Firm.

Accepted and Agreed to by:

Client Signature:_____         ________________________________________________________
Client Name:__             __________________________________________________________
Date:___           ________________________________________________________________
Client Phone Number(s):__               __________________________________________________
Client Email Address(s):__                    ____________________________________________




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Dear Client:

Thank you for selecting McCall|Atten (the “Firm”) to provide legal services to you (“Client”) to
recover any and all monetary damages through the pursuit of your claim in the NFL Concussion
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The purpose of this letter is to set forth the terms upon which we understand you intend for us to
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Concussion Injury Litigation (“NFL PCIL”), MDL 2323.

This engagement letter does not engage us to undertake any matter not described above. For
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whose consent is required.




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3.      Firm Personnel (              )

Joey M. McCall, Esq (“Managing Partner”) will be primarily responsible for the supervision of
Client’s matter, but Client is engaging the Firm as a, whole and not Managing Partner individually.
As and when necessary, Managing Partner will draw upon the skill and expertise of other partners
and associates within the Firm and utilize paralegal and/or administrative staff to handle
administrative tasks. If necessary to retain counsel in a jurisdiction in which the Firm does not
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 The Firm will represent Client on a Contingency Fee basis with no retainer or other money due
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 s e t t le m e n t a n d w i ll b e t a k e n o n a ca se b y c a se b a si s w i t h b o t h t he F i r m ’ s a n d
 C l i e n t ’s e x p re s s w ri t t e n c o n s e n t .

 Under the NFL PCIL, MDL 2323 Settlement, Co-Lead Class Counsel may request payment of up to
 five percent (5%) of the benefits due t o you (the “Set Aside”). If such a request is made, the
 Court must first approve the Co-Lead Class Counsel’s request before payment of any percentage
 of the benefits to which you may be entitled. The Firm, at its sole discretion, may oppose such
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related to medical examination and travel shall be deducted from the client’s recovery after
application of the fee recoverable to the Firm.

6.      Trust Account

In the event that our Firm recovers compensation, all payments will be paid to our Firm’s trust
account first, where they will be then distributed to the Client with a detailed accounting minus the
agreed upon attorney’s fees and costs, expenses, and disbursements. Funds will be held in our
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                                                                                                                      km

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7.     No Guarantees of Fees, Costs, or Results (

It is difficult to estimate, in advance, the amount of fees and costs, expenses, or disbursements that
we will incur in connection with this matter. Please note that statement or estimate about this
subject that we have given you is just that – an estimate – and not a commitment to a flat or fixed
fee.

Similarly, and although we will give you our reasoned judgment and advice at all times, we cannot
guarantee any particular outcome of any engagement and thus cannot guarantee that the ultimate
outcome will be consistent with the client’s wishes.

8.     Term; Termination and/or Withdrawal (

This agreement is contemplated as continuing for the duration that may be necessary to pursue
claims, in relation to the scope of services described in Section 1, which shall commence on the date
that this agreement is executed by both parties (“Effective Date”). Thereafter, Client may terminate
the attorney-client relationship at any time and for any reason by providing notice to the Firm.
Such a termination does not, however, absolve Client of the responsibility to pay for services or
costs, expenses, and disbursements incurred prior to our receipt of notice of termination or
incurred subsequent to notice but, in or view, are reasonably necessary to protect Client’s interests.
In the event the client chooses to terminate the representation prior to any receipt of NFL PCIL,
MDL 2323 Settlement funds, the Client shall immediately reimburse the Firm for all costs, expenses
and disbursements incurred on behalf of the client including, but not limited to, the costs, expenses
or disbursements related to medical examinations and travel to such examinations, plus the fee for
the work done on the client’s file at the firm’s' standard h o u r l y rate. The current rates are:
Attorneys $400 per hour; paralegals and staff $250 per hour. Hourly rates are not charged on
contingency fee cases unless the case is terminated before all work is completed. Upon early
termination by the Client, Client specifically authorizes and acknowledges the Firm shall be entitled
to place a charging lien on any funds to which the Client would be otherwise entitled under the
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10.    Special Arrangements and Third-Party Contracts                )

You, the Client, may have entered into a special arrangement or contracted a third-party with
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Managing Partner
McCall | Atten

        By signing this contract, the individual is stating that they are the authorized representative
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acts as an agent for the injured party to contract for legal services from the Firm.

Accepted and Agreed to by:

Client Signature:____            ______________________________________________________
Client Name:___               ________________________________________________________
Date:___           ________________________________________________________________
Client Phone Number(s):__(              __________________________________________________
Client Email Address(s):___                   _____________________________________________




                                                                                                     km

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Dear Client:

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3.      Firm Personnel (              )

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As and when necessary, Managing Partner will draw upon the skill and expertise of other partners
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 s e t t le m e n t a n d w i ll b e t a k e n o n a ca se b y c a se b a si s w i t h b o t h t he F i r m ’ s a n d
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Respectfully,

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Joey M. McCall, Esq.
Managing Partner
McCall | Atten

        By signing this contract, the individual is stating that they are the authorized representative
to make agreements, contracts, and claims for the injured party. The authorized representative
acts as an agent for the injured party to contract for legal services from the Firm.

Accepted and Agreed to by:

Client Signature:_____           ______________________________________________________
Client Name:__               _________________________________________________________
Date:__           _________________________________________________________________
Client Phone Number(s):___(               ________________________________________________
Client Email Address(s):__                    _____________________________________________




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4.      Legal Fees (

 The Firm will represent Client on a Contingency Fee basis with no retainer or other money due
 in advance from the Client. I n c o n s i d e r a t i o n f o r t h e F i r m ’ s s e r v i c e s , the
 Firm shall and is entitled to receive and/or recover a 10% fee of any and all funds
 recovered from the NFL PCIL, MDL 2323 Settlement for Client. The Firm’s fee will be deemed
 earned upon the initiation of its pursuit for recovery on behalf of the Client from the NFL PCIL,
 MDL 2323. A s u b se q ue n t f e e a g r e e m e n t w i l l b e n e c e s sa r y f o r r e c o v e r y o u t s i d e o f
 s e t t le m e n t a n d w i ll b e t a k e n o n a ca se b y c a se b a si s w i t h b o t h t he F i r m ’ s a n d
 C l i e n t ’s e x p re s s w ri t t e n c o n s e n t .

 Under the NFL PCIL, MDL 2323 Settlement, Co-Lead Class Counsel may request payment of up to
 five percent (5%) of the benefits due t o you (the “Set Aside”). If such a request is made, the
 Court must first approve the Co-Lead Class Counsel’s request before payment of any percentage
 of the benefits to which you may be entitled. The Firm, at its sole discretion, may oppose such
 request for a Set Aside. If, however, the Court authorizes a Set Aside, Client specifically and
 expressly agree in advance the total amount of the Firm’s contingency fee shall increase by the
 same amount of any future Court Authorized Set Aside so that the Contingent Fee due to the Firm
 does not fall below the fee arrangement described above and in this section.

5.      Costs and Disbursements

Client is responsible for payment of all costs, expenses, and disbursements reasonably incurred by
the Firm on the Client’s behalf. Client expressly acknowledges Firm is not obligated to advance such
costs, expenses, and disbursements. Such costs, expenses, and disbursements may include, but are
not limited to; photocopy and facsimile charges, long distances telephone calls, travel expenses, and
computer research charges. The Firm may, at its sole discretion, advance litigation expenses related
to the costs of obtaining medical examinations and reports for use in the Concussion Settlement
Claims process, including reasonable travel and stay accommodations. All costs, including those
related to medical examination and travel shall be deducted from the client’s recovery after
application of the fee recoverable to the Firm.

6.      Trust Account (

In the event that our Firm recovers compensation, all payments will be paid to our Firm’s trust
account first, where they will be then distributed to the Client with a detailed accounting minus the
agreed upon attorney’s fees and costs, expenses, and disbursements. Funds will be held in our
Firm’s IOTA trust account and the interest, if any, will be sent to the appropriate and applicable bar
foundation.

                                                                                                                      Va

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7.     No Guarantees of Fees, Costs, or Results (          )

It is difficult to estimate, in advance, the amount of fees and costs, expenses, or disbursements that
we will incur in connection with this matter. Please note that statement or estimate about this
subject that we have given you is just that – an estimate – and not a commitment to a flat or fixed
fee.

Similarly, and although we will give you our reasoned judgment and advice at all times, we cannot
guarantee any particular outcome of any engagement and thus cannot guarantee that the ultimate
outcome will be consistent with the client’s wishes.

8.     Term; Termination and/or Withdrawal (               )

This agreement is contemplated as continuing for the duration that may be necessary to pursue
claims, in relation to the scope of services described in Section 1, which shall commence on the date
that this agreement is executed by both parties (“Effective Date”). Thereafter, Client may terminate
the attorney-client relationship at any time and for any reason by providing notice to the Firm.
Such a termination does not, however, absolve Client of the responsibility to pay for services or
costs, expenses, and disbursements incurred prior to our receipt of notice of termination or
incurred subsequent to notice but, in or view, are reasonably necessary to protect Client’s interests.
In the event the client chooses to terminate the representation prior to any receipt of NFL PCIL,
MDL 2323 Settlement funds, the Client shall immediately reimburse the Firm for all costs, expenses
and disbursements incurred on behalf of the client including, but not limited to, the costs, expenses
or disbursements related to medical examinations and travel to such examinations, plus the fee for
the work done on the client’s file at the firm’s' standard h o u r l y rate. The current rates are:
Attorneys $400 per hour; paralegals and staff $250 per hour. Hourly rates are not charged on
contingency fee cases unless the case is terminated before all work is completed. Upon early
termination by the Client, Client specifically authorizes and acknowledges the Firm shall be entitled
to place a charging lien on any funds to which the Client would be otherwise entitled under the
NFL PCIL, MDL 2323 Settlement.

To the extent permitted by the applicable rules of professional conduct, we also reserve the right to
terminate the attorney-client relationship at any time. Similarly, and again to the extent permitted
by the applicable rules of professional conduct, Client will remain liable for services or costs,
expenses, and disbursements incurred prior to our decision to withdraw or incurred subsequent to
our decision but, in our view, reasonable necessary to protect Client’s interests.

The Firm does not ordinarily undertake to keep clients informed about subsequent developments
once the matter in question is at an end. If you would like the Firm to do so, please provide
notification in writing so that an arrangement can be made.

9.     Arbitration and Fee Disputes (         )

Any and all fee disputes that the parties are unable to resolve between themselves shall
unequivocally be arbitrated in accordance with applicable state or country bar fee arbitration
procedures or, if no such procedures exist, in accordance with the commercial arbitration rules of
the American Arbitration Association, and any award issued in such arbitration shall be enforceable
in any court with jurisdiction. To the extent permitted by applicable law, the arbitration


                                                                                                   Va
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proceedings shall be strictly confidential. Unless otherwise agreed by the parties in writing, venue
for any arbitration proceedings shall occur in Miami, Florida.

10.    Special Arrangements and Third-Party Contracts                )

You, the Client, may have entered into a special arrangement or contracted a third-party with
respect to a contractual debt or repayment arrangement with other individuals or entities who
are to be reimbursed out of any benefits payable to you as a result of the Firm’s efforts on your
behalf and under the NFL PCIL, MDL 2323 Settlement. Such individuals’ or entities’ claims shall and
will be the sole responsibility of the Client. Client expressly acknowledges the Firm is not now nor
will the Firm agree to be in the future a party to any special arrangements or contract with a third-
party with respect to any contractual debt or repayment arrangement with any third party
individual or entity. Any individual or entity with such a right to reimbursement shall have
absolutely no control in any fashion over the Firm’s handling of the legal aspects of the Client’s
case. The Firm shall not share any part of its Contingent Fee with any such individuals or entities.

11.    Severability (       )

In case any provision in this Agreement shall be invalid, illegal, or unenforceable, then (to the extent
permitted by law) the validity, legality, or enforceability of the remaining provisions shall not in any
way be affected or impaired thereby.

12.    Binding and Entire Agreement (            )

This letter represents the entire agreement between the parties, and no party is relying or entitled
to rely on any representation not expressly contained herein. In addition, no changes to this letter
may be made without the express written consent of all the parties hereto.

If this letter reflects your understanding of our relationship, please sign and return the enclosed
duplicate copy. Please note that unless and until we hear from you to the contrary, we will assume
that we are entitled to proceed under the terms of this letter. Consistent with firm policy, however,
we reserve the right to delay commencement of work on this matter until you have signed and
returned the engagement letter to us.

13.    Acknowledgement of Prior Provisions (                )

Now that you have read through this document in its entirety, please go back to the beginning of the
document and initial next to each provision where space within parenthesis is provided for you to
do so. By initialing on each space allotted, you are confirming that you have ready the provision,
understand the provision in its entirety, and have no additional questions regarding the information
provided in the provision.




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Again, we thank you for your trust in us and look forward to a mutually satisfactory and productive
relationship.

Respectfully,

____________________
Joey M. McCall, Esq.
Managing Partner
McCall | Atten

        By signing this contract, the individual is stating that they are the authorized representative
to make agreements, contracts, and claims for the injured party. The authorized representative
acts as an agent for the injured party to contract for legal services from the Firm.

Accepted and Agreed to by:

Client Signature:____            ______________________________________________________
Client Name:____V               _____________________________________________________
Date:___            _______________________________________________________________
Client Phone Number(s):__7             ___________________________________________________
Client Email Address(s):___                     __________________________________________




                                                                                                     Va

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Dear Client:

Thank you for selecting McCall|Atten (the “Firm”) to provide legal services to you (“Client”) to
recover any and all monetary damages through the pursuit of your claim in the NFL Concussion
Claims Settlement Facility.

The purpose of this letter is to set forth the terms upon which we understand you intend for us to
proceed. Although this letter is somewhat lengthy, it is better for both attorney and client to address
matters up front in order to minimize the likelihood of subsequent misunderstandings or
disagreement.

1.     Scope of Services (       __)

Client has engaged the Firm to represent it in connection with providing legal services reasonably
related to the recovery of economic and non-economic damages resulting from the NFL Players’
Concussion Injury Litigation (“NFL PCIL”), MDL 2323.

This engagement letter does not engage us to undertake any matter not described above. For
example, this engagement letter does not include: representing Client in any formal legal actions
commenced by the filing of a separate complaint, any appeals related to litigation against Client, any
workman’s compensation claims, unemployment claims, or any other representation of any
affiliates, subsidiaries, or agents of Client.

Any non-legal related services the Client may require or request in connection with the claims
process, such as medical costs, Independent Medical Examinations or Opinions, advances for health
or palliative care or any other non-legal cost or service shall not be within the Firm’s Scope of
Services and shall not be provided for or paid in advance by the Firm.

2.     Conflicts of Interest (    ___)

As we have discussed, there are currently no conflicts of interest that are raised by your request
that we undertake this matter. However, should any conflicts of interest become known to us
throughout the course of our providing legal representation, said conflicts will be addressed in
another letter. Please note that in the event of any conflicts of interest that may arise, we may not
be able to continue with this representation if we do not receive signed waivers back from all parties
whose consent is required.




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3.      Firm Personnel (           __)

Joey M. McCall, Esq (“Managing Partner”) will be primarily responsible for the supervision of
Client’s matter, but Client is engaging the Firm as a, whole and not Managing Partner individually.
As and when necessary, Managing Partner will draw upon the skill and expertise of other partners
and associates within the Firm and utilize paralegal and/or administrative staff to handle
administrative tasks. If necessary to retain counsel in a jurisdiction in which the Firm does not
practice, Firm will retain counsel in the necessary jurisdiction.

4.      Legal Fees (        __)

 The Firm will represent Client on a Contingency Fee basis with no retainer or other money due
 in advance from the Client. I n c o n s i d e r a t i o n f o r t h e F i r m ’ s s e r v i c e s , the
 Firm shall and is entitled to receive and/or recover a 10% fee of any and all funds
 recovered from the NFL PCIL, MDL 2323 Settlement for Client. The Firm’s fee will be deemed
 earned upon the initiation of its pursuit for recovery on behalf of the Client from the NFL PCIL,
 MDL 2323. A s u b se q ue n t f e e a g r e e m e n t w i l l b e n e c e s sa r y f o r r e c o v e r y o u t s i d e o f
 s e t t le m e n t a n d w i ll b e t a k e n o n a ca se b y c a se b a si s w i t h b o t h t he F i r m ’ s a n d
 C l i e n t ’s e x p re s s w ri t t e n c o n s e n t .

 Under the NFL PCIL, MDL 2323 Settlement, Co-Lead Class Counsel may request payment of up to
 five percent (5%) of the benefits due t o you (the “Set Aside”). If such a request is made, the
 Court must first approve the Co-Lead Class Counsel’s request before payment of any percentage
 of the benefits to which you may be entitled. The Firm, at its sole discretion, may oppose such
 request for a Set Aside. If, however, the Court authorizes a Set Aside, Client specifically and
 expressly agree in advance the total amount of the Firm’s contingency fee shall increase by the
 same amount of any future Court Authorized Set Aside so that the Contingent Fee due to the Firm
 does not fall below the fee arrangement described above and in this section.

5.      Costs and Disbursements                 __)

Client is responsible for payment of all costs, expenses, and disbursements reasonably incurred by
the Firm on the Client’s behalf. Client expressly acknowledges Firm is not obligated to advance such
costs, expenses, and disbursements. Such costs, expenses, and disbursements may include, but are
not limited to; photocopy and facsimile charges, long distances telephone calls, travel expenses, and
computer research charges. The Firm may, at its sole discretion, advance litigation expenses related
to the costs of obtaining medical examinations and reports for use in the Concussion Settlement
Claims process, including reasonable travel and stay accommodations. All costs, including those
related to medical examination and travel shall be deducted from the client’s recovery after
application of the fee recoverable to the Firm.

6.      Trust Account (           __)

In the event that our Firm recovers compensation, all payments will be paid to our Firm’s trust
account first, where they will be then distributed to the Client with a detailed accounting minus the
agreed upon attorney’s fees and costs, expenses, and disbursements. Funds will be held in our
Firm’s IOTA trust account and the interest, if any, will be sent to the appropriate and applicable bar
foundation.

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7.     No Guarantees of Fees, Costs, or Results (       __)

It is difficult to estimate, in advance, the amount of fees and costs, expenses, or disbursements that
we will incur in connection with this matter. Please note that statement or estimate about this
subject that we have given you is just that – an estimate – and not a commitment to a flat or fixed
fee.

Similarly, and although we will give you our reasoned judgment and advice at all times, we cannot
guarantee any particular outcome of any engagement and thus cannot guarantee that the ultimate
outcome will be consistent with the client’s wishes.

8.     Term; Termination and/or Withdrawal (

This agreement is contemplated as continuing for the duration that may be necessary to pursue
claims, in relation to the scope of services described in Section 1, which shall commence on the date
that this agreement is executed by both parties (“Effective Date”). Thereafter, Client may terminate
the attorney-client relationship at any time and for any reason by providing notice to the Firm.
Such a termination does not, however, absolve Client of the responsibility to pay for services or
costs, expenses, and disbursements incurred prior to our receipt of notice of termination or
incurred subsequent to notice but, in or view, are reasonably necessary to protect Client’s interests.
In the event the client chooses to terminate the representation prior to any receipt of NFL PCIL,
MDL 2323 Settlement funds, the Client shall immediately reimburse the Firm for all costs, expenses
and disbursements incurred on behalf of the client including, but not limited to, the costs, expenses
or disbursements related to medical examinations and travel to such examinations, plus the fee for
the work done on the client’s file at the firm’s' standard h o u r l y rate. The current rates are:
Attorneys $400 per hour; paralegals and staff $250 per hour. Hourly rates are not charged on
contingency fee cases unless the case is terminated before all work is completed. Upon early
termination by the Client, Client specifically authorizes and acknowledges the Firm shall be entitled
to place a charging lien on any funds to which the Client would be otherwise entitled under the
NFL PCIL, MDL 2323 Settlement.

To the extent permitted by the applicable rules of professional conduct, we also reserve the right to
terminate the attorney-client relationship at any time. Similarly, and again to the extent permitted
by the applicable rules of professional conduct, Client will remain liable for services or costs,
expenses, and disbursements incurred prior to our decision to withdraw or incurred subsequent to
our decision but, in our view, reasonable necessary to protect Client’s interests.

The Firm does not ordinarily undertake to keep clients informed about subsequent developments
once the matter in question is at an end. If you would like the Firm to do so, please provide
notification in writing so that an arrangement can be made.

9.     Arbitration and Fee Disputes (        _)

Any and all fee disputes that the parties are unable to resolve between themselves shall
unequivocally be arbitrated in accordance with applicable state or country bar fee arbitration
procedures or, if no such procedures exist, in accordance with the commercial arbitration rules of
the American Arbitration Association, and any award issued in such arbitration shall be enforceable
in any court with jurisdiction. To the extent permitted by applicable law, the arbitration


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proceedings shall be strictly confidential. Unless otherwise agreed by the parties in writing, venue
for any arbitration proceedings shall occur in Miami, Florida.

10.    Special Arrangements and Third-Party Contracts (             _)

You, the Client, may have entered into a special arrangement or contracted a third-party with
respect to a contractual debt or repayment arrangement with other individuals or entities who
are to be reimbursed out of any benefits payable to you as a result of the Firm’s efforts on your
behalf and under the NFL PCIL, MDL 2323 Settlement. Such individuals’ or entities’ claims shall and
will be the sole responsibility of the Client. Client expressly acknowledges the Firm is not now nor
will the Firm agree to be in the future a party to any special arrangements or contract with a third-
party with respect to any contractual debt or repayment arrangement with any third party
individual or entity. Any individual or entity with such a right to reimbursement shall have
absolutely no control in any fashion over the Firm’s handling of the legal aspects of the Client’s
case. The Firm shall not share any part of its Contingent Fee with any such individuals or entities.

11.    Severability (

In case any provision in this Agreement shall be invalid, illegal, or unenforceable, then (to the extent
permitted by law) the validity, legality, or enforceability of the remaining provisions shall not in any
way be affected or impaired thereby.

12.    Binding and Entire Agreement (            )

This letter represents the entire agreement between the parties, and no party is relying or entitled
to rely on any representation not expressly contained herein. In addition, no changes to this letter
may be made without the express written consent of all the parties hereto.

If this letter reflects your understanding of our relationship, please sign and return the enclosed
duplicate copy. Please note that unless and until we hear from you to the contrary, we will assume
that we are entitled to proceed under the terms of this letter. Consistent with firm policy, however,
we reserve the right to delay commencement of work on this matter until you have signed and
returned the engagement letter to us.

13.    Acknowledgement of Prior Provisions (           __)

Now that you have read through this document in its entirety, please go back to the beginning of the
document and initial next to each provision where space within parenthesis is provided for you to
do so. By initialing on each space allotted, you are confirming that you have ready the provision,
understand the provision in its entirety, and have no additional questions regarding the information
provided in the provision.




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Again, we thank you for your trust in us and look forward to a mutually satisfactory and productive
relationship.

Respectfully,

____________________
Joey M. McCall, Esq.
Managing Partner
McCall | Atten

        By signing this contract, the individual is stating that they are the authorized representative
to make agreements, contracts, and claims for the injured party. The authorized representative
acts as an agent for the injured party to contract for legal services from the Firm.

Accepted and Agreed to by:

Client Signature:_                   ___________________________________________________
Client Name:__               _________________________________________________________
Date:__              _______________________________________________________________
Client Phone Number(s):_




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                BASELINE ASSESSMENT PROGRAM HIPAA AUTHORIZATION FORM

You must complete and sign this Form if you are a Retired NFL Football Player or the Representative Claimant
of a Retired NFL Football Player and want to participate in the Baseline Assessment Program (the “BAP”). This
Form authorizes the use and disclosure of “Protected Health Information” as that term is defined in 45 C.F.R.
§ 160.103, relating to your participation in the BAP. Protected Health Information includes, but is not limited to,
information regarding the Retired NFL Football Player’s medical care, treatment, physical or mental condition, and
medical expenses.

Complete and sign this Authorization and submit it to the BAP Administrator.

The capitalized terms not defined in this form are defined in the Settlement Agreement, which is available at
www.nflconcussionsettlement.com or by calling toll free (855) 887-3485.

You should retain a copy of all materials submitted to the BAP Administrator.
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                     BASELINE ASSESSMENT PROGRAM HIPAA AUTHORIZATION FORM

                               I.          RETIRED NFL FOOTBALL PLAYER INFORMATION

Settlement Program ID                                                                      |           |           |           |     |   |    |   |   |   |
                               First                                                           M.I.                        Last                                           Suffix

Retired NFL Football
Player Name

Social Security
Number, Taxpayer ID
or Foreign ID                      |       |       |       |-|      |        |-|       |       |           |           |
Number (if Retired                                                                                                                 Date of Birth of
                                                                                                                                                      _____/_______/_______
NFL Football Player is                                                  or                                                          Retired NFL            (Month/Day/Year)

not a U.S. Citizen) of         |       |       |       |     |      |        |     |       |       |           |           |       Football Player
Retired NFL Football
Player (if known)
     II.      PARTIES AUTHORIZED TO USE AND DISCLOSE PROTECTED HEALTH INFORMATION

By signing and submitting this Form, I authorize the use and disclosure of all Protected Health Information regarding
my (or the Retired NFL Football Player’s, if signed by a Representative Claimant) medical care, treatment, physical
or mental condition, and medical expenses by the Claims Administrator, Special Master, BAP Administrator, Lien
Resolution Administrator, Qualified BAP Providers, Qualified BAP Pharmacy Vendors, Qualified MAF Physicians,
Appeals Advisory Panel members, Appeals Advisory Panel Consultants, the Court, Class Counsel, Counsel for the
NFL Parties, and the NFL Parties (which, in turn, may share Protected Health Information with the NFL Parties’
insurers or reinsurers) in the performance of their functions and duties relating to the BAP under the Settlement
Agreement.


                                                                 III.        AUTHORIZATION

By signing below, I acknowledge and understand all of the following:

1.         I have the right to revoke this authorization at any time. If I wish to revoke the authorization, I must do so in
           writing and must provide my written revocation to the BAP Administrator. The written revocation must be
           signed and dated. The revocation will not apply to any disclosures that already have been made in reliance on
           this authorization prior to the date upon which the BAP Administrator receives my written revocation.

2.         My authorization of the disclosure of the subject Retired NFL Football Player’s Protected Health Information
           is voluntary, which means I can refuse to sign this Form. I do not need to sign this Form to obtain health
           treatment from any medical provider or to enroll in or be eligible for any health plan benefits. However, I
           recognize that if I do not sign this Form and submit it to the BAP Administrator, the BAP Administrator may
           be unable to process the results of my baseline assessment examination for the purposes set forth in the
           Settlement Agreement and may be unable to provide the information that certain third parties, such as the
           Claims Administrator, need to process a potential claim for a Monetary Award or BAP Supplemental Benefits,
           or otherwise perform their rights and obligations under the Settlement Agreement.




BAP HIPAA Authorization Form for the NFL Concussion Settlement Program                                                                                              Page 1 of 3
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                  BASELINE ASSESSMENT PROGRAM HIPAA AUTHORIZATION FORM

3.     Any Protected Health Information or other information released to the Claims Administrator, Special Master,
       BAP Administrator, Lien Resolution Administrator, Qualified BAP Providers, Qualified BAP Pharmacy
       Vendors, Qualified MAF Physicians, Appeals Advisory Panel members, Appeals Advisory Panel Consultants,
       the Court, Class Counsel, Counsel for the NFL Parties, and the NFL Parties (including the NFL Parties’ insurers
       or reinsurers) may be subject to re-disclosure by such person/entity, and may no longer be protected by
       applicable federal and state privacy laws. Each of those persons and entities, however, is permitted to use and
       disclose your information only in accordance with this Form, the Settlement Agreement, a contract executed
       pursuant to the Settlement Agreement, orders of the Court, and/or applicable law.

4.     My Protected Health Information may include information relating to sexually transmitted disease, acquired
       immunodeficiency syndrome (“AIDS”), or human immunodeficiency virus (“HIV”), behavioral or mental
       health services and treatment for alcohol and drug abuse.

5.     This Form is valid from the date of my signature in Section V and expires on December 31, 2032.

6.     I have a right to receive and retain a copy of this Form.

7.     Any photostatic copy of this Form shall have the same authority as the original, and may be substituted in its
       place.

                              IV.    CONSENT TO PARTICIPATE IN RESEARCH

       By checking this box, the Retired NFL Football Player elects to provide his medical records (and, as such, his
       Protected Health Information) for use in connection with medical research into cognitive impairment and
       safety and injury prevention with respect to football players pursuant to Section 5.10(a) of the Settlement
       Agreement. Any personally identifying information concerning the Retired NFL Football Player will be
       redacted from medical records or information provided pursuant to this consent in accordance with the
       standards set forth in 45 C.F.R. § 164.514(a)-(b).

                                                  V.     SIGNATURE

The Retired NFL Football Player or Representative Claimant of the Retired NFL Football Player named in Section I
must sign and date this Form below. By signing below, I declare under penalty of perjury, pursuant to 28 U.S.C.
§ 1746, that all information provided in this HIPAA Authorization Form is true and correct to the best of my
knowledge, information and belief.

     Signature                                                              Date     |   |   |/|     |    |/|     |     |     |      |
                                                                                                   (Month/Day/Year)

                   First                                      M.I.   Last                                                   Suffix
Printed Name

If you are signing this Form as a Representative Claimant,
describe your relationship to the Retired NFL Football Player
and your authority to act on his behalf:




BAP HIPAA Authorization Form for the NFL Concussion Settlement Program                                                Page 2 of 3
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                BASELINE ASSESSMENT PROGRAM HIPAA AUTHORIZATION FORM

                                   VI.       HOW TO SUBMIT THIS FORM
You may submit this Form in one of three ways:
                                                 NFL Class Action Settlement
                                                 BAP Administrator
By U.S. Mail:
                                                 P.O. Box 53407
                                                 New Orleans, LA 70153
                                                 NFL Class Action Settlement
                                                 c/o Garretson Resolution Group
 By Delivery
                                                 935 Gravier St., Suite 1400
                                                 New Orleans, LA 70112




BAP HIPAA Authorization Form for the NFL Concussion Settlement Program              Page 3 of 3
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                MONETARY AWARD CLAIM PACKAGE HIPAA AUTHORIZATION FORM

You must complete and sign this Form if you are a Retired NFL Football Player or the Representative Claimant
of a Retired NFL Football Player and want to apply for a Monetary Award. This Form authorizes the use and
disclosure of “Protected Health Information” as that term is defined in 45 C.F.R. § 160.103, relating to the
processing of your claim in the NFL Concussion Settlement Program. Protected Health Information includes, but is
not limited to, information regarding the Retired NFL Football Player’s medical care, treatment, physical or mental
condition, and medical expenses.


                             I.   RETIRED NFL FOOTBALL PLAYER INFORMATION

Settlement Program ID                                   |       |        |           |           |             |           |         |           |           |
                    First                                           M.I.                     Last                                                                                         Suffix

Player Name

Social Security Number, Taxpayer ID or                          |        |           |           |-|                   |         |-|                 |           |       |        |
Foreign ID Number (if Retired NFL Football
                                                                                                                           or
Player is not a U.S. Citizen) of Retired NFL
Football Player (if known)                                  |        |           |           |             |           |         |           |           |           |        |       |


Date of Birth of Retired NFL Football Player                                 |           |           |/|           |       |/|           |           |       |       |
                                                                                                               (Month/Day/Year)



         II.   ENTITIES AUTHORIZED TO USE AND DISCLOSE PROTECTED HEALTH INFORMATION

By signing and submitting this Form, I authorize the use and disclosure of all Protected Health Information
regarding my (or the Retired NFL Football Player’s, if signed by a Representative Claimant) medical care,
treatment, physical or mental condition, and medical expenses relating to my claim in the In re: National Football
League Players’ Concussion Injury Litigation Settlement program, as follows: (1) by the Claims Administrator,
Special Masters, BAP Administrator, Lien Resolution Administrator, designated Qualified BAP Providers, Qualified
BAP Pharmacy Vendors, Qualified MAF Physicians, Appeals Advisory Panel members, Appeals Advisory Panel
Consultants, the Court, Class Counsel, Counsel for the NFL Parties and the NFL Parties (which, in turn, may share
the Protected Health Information with the NFL Parties’ insurers or reinsurers) for use and/or disclosure with one
another in the performance of their functions and duties pursuant to the Settlement Agreement; (2) by the Lien
Resolution Administrator for use and/or disclosure to the holders of any liens, claims, or rights of subrogation,
indemnity, reimbursement, conditional or other payments, or interests of any type, including all Governmental
Payors (such as the Medicare Program, any state Medicaid Program, the Department of Veterans Affairs, Tricare,
Indian Health Services, and their respective contractors), Medicare Part C or Part D Programs, private health care
providers, health plans, and health insurers, and any contractors or recovery agents of the foregoing persons and
entities (collectively, “Lienholders”), for the purpose of identifying and resolving any potential Liens in connection
with any Monetary Award that I may receive; and (3) by the Lienholders for disclosure to the Lien Resolution
Administrator and Claims Administrator for the purpose of identifying and resolving any potential Liens in
connection with any Monetary Award that I may receive.




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                 MONETARY AWARD CLAIM PACKAGE HIPAA AUTHORIZATION FORM

                                                III.     AUTHORIZATION

By signing below, I acknowledge and understand all of the following:

       I have the right to revoke this authorization at any time. If I wish to revoke the authorization, I must do so in
       writing and must provide my written revocation to the Claims Administrator. The written revocation must be
1.
       signed and dated. The revocation will not apply to any disclosures that already have been made in reliance
       on this authorization prior to the date upon which the Claims Administrator receives my written revocation.

       My authorization of the disclosure of the subject Retired NFL Football Player’s Protected Health Information
       is voluntary, which means I can refuse to sign this Form. I do not need to sign this Form to obtain health
2.     treatment from any medical provider or to enroll in or be eligible for any health plan benefits. However, I
       recognize that if I do not sign this Form and submit it to the Claims Administrator, my Claim Package will be
       incomplete under the terms of the Settlement Agreement and will not be processed.

       Any Protected Health Information or other information released to the Claims Administrator, Special Masters,
       BAP Administrator, Lien Resolution Administrator, Qualified BAP Providers, Qualified BAP Pharmacy
       Vendors, Qualified MAF Physicians, Appeals Advisory Panel members, Appeals Advisory Panel
       Consultants, the Court, Class Counsel, Counsel for the NFL Parties and the NFL Parties (including the NFL
3.
       Parties’ insurers or reinsurers) may be subject to re-disclosure by such person/entity, and may no longer be
       protected by applicable federal and state privacy laws. Each of those persons and entities, however, is
       permitted to use and disclose your information only in accordance with this Form, the Settlement Agreement,
       a contract executed pursuant to the Settlement Agreement, orders of the Court, and/or applicable law.

       My Protected Health Information may include information relating to sexually transmitted disease, acquired
4.     immunodeficiency syndrome (“AIDS”), or human immunodeficiency virus (“HIV”), behavioral or mental health
       services and treatment for alcohol and drug abuse.

       This Form is valid from the date of my signature in Section IV until the date that the Claims Administrator
5.
       performs the last act to process the claim for a Monetary Award that I submitted with this Form.

6.     I have a right to receive and retain a copy of this Form.

       Any photostatic copy of this Form shall have the same authority as the original, and may be substituted in its
7.
       place.

                                                   IV.    SIGNATURE

The Retired NFL Football Player or Representative Claimant of the Retired NFL Football Player named in Section I
must sign and date this Form below. By signing below, I declare under penalty of perjury, pursuant to 28
U.S.C. § 1746, that all information provided in this HIPAA Authorization Form is true and correct to the best
of my knowledge, information and belief.

     Signature                                                              Date     |   |   |/|    |     |/|     |   |   |    |
                                                                                                   (Month/Day/Year)

                    First                                          M.I.   Last                                            Suffix
 Printed Name


If you are signing this Form as a Representative Claimant,
describe your relationship to the Retired NFL Football Player and
your authority to act on his behalf:

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                 MONETARY AWARD CLAIM PACKAGE HIPAA AUTHORIZATION FORM

                                     V.    HOW TO SUBMIT THIS FORM

You may submit this Form in one of two ways:
                                               NFL Class Action Settlement
                                               Claims Administrator
  By U.S. Mail:
                                               P.O. Box 25369
                                               Richmond, VA 23260
                                               NFL Class Action Settlement
                                               c/o BrownGreer PLC
  By Delivery:
                                               250 Rocketts Way
                                               Richmond, VA 23231




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                              REQUEST FOR CHANGE IN REPRESENTATION STATUS
 Use this form to update your representation status in the NFL Concussion Settlement Program. You can use this
 form to notify the Claims Administrator that you have changed lawyers, added representation when you previously
 were unrepresented, or removed representation and will proceed as unrepresented.

                                      I. SETTLEMENT CLASS MEMBER INFORMATION

 Settlement Program ID:
                First                                              M.I.   Last

 Name:


                                II. CHANGE FROM ONE LAWYER TO ANOTHER LAWYER
 Complete this Section if you have been represented by a lawyer and are notifying the Claims Administrator of the
 change to your being represented by a different lawyer. Only one lawyer can represent each Settlement Class
 Member.
                Law Firm Name

 Prior
 Lawyer:        Lawyer First Name                                  M.I.   Lawyer Last Name               Suffix



                Law Firm Name



                Lawyer First Name                                  M.I.   Lawyer Last Name               Suffix



                Street                                                                                   Suite
 New
 Lawyer:        City                                                      State/Province


                Postal Code                                               Country


                Email                                                     Telephone




                                    III. REMOVE REPRESENTATION BY CURRENT LAWYER
 Complete this Section if you have been represented by a lawyer and are notifying the Claims Administrator of
 your removal of representation by that lawyer.
                Law Firm Name



 Prior
                Lawyer First Name                                  M.I.   Lawyer Last Name               Suffix
 Lawyer:




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                                      IV. ADD REPRESENTATION FOR LAWYER
 Complete this Section if you have been unrepresented and are notifying the Claims Administrator of your
 representation by a lawyer.
                 Law Firm Name



                 Lawyer First Name                               M.I.     Lawyer Last Name                         Suffix



                 Street                                                                                            Suite
 New
 Lawyer:         City                                                     State/Province


                 Postal Code                                              Country


                 Email                                                    Telephone




                                                   V. SIGNATURE

 I ask the Claims Administrator to change my representation status as set forth above.

 Class
                                                                                             ____/_____/______
 Member                                                                          Date:          (Month/Day/Year)
 Signature:
                    Fi                                        Last Name                                        M.I

 Name:

 Submit this form using one of the methods listed below. If you have portal access, you can also upload a
 completed copy of this form to your file.

 By Email:                           ClaimsAdministrator@NFLConcussionSettlement.com
                                           NFL Concussion Settlement
                                           Claims Administrator
 By U.S. Mail:
                                           P.O. Box 25369
                                           Richmond, VA 23260
                                           NFL Concussion Settlement
                                           c/o BrownGreer PLC
 By Delivery:
                                           250 Rocketts Way
                                           Richmond, VA 23231




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